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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1
    PORZIO, BROMBERG & NEWMAN, P.C.                                                  Order Filed on January 2, 2019
    100 Southgate Parkway                                                            by Clerk
    P.O. Box 1997                                                                    U.S. Bankruptcy Court
                                                                                     District of New Jersey
    Morristown, New Jersey 07962
    (973) 538-4006
    (973) 538-5146 Facsimile
    Warren J. Martin Jr., Esq. (wjmartin@pbnlaw.com)
    Kelly D. Curtin, Esq. (kdcurtin@pbnlaw.com)
    Rachel A. Parisi, Esq. (raparisi@pbnlaw.com)
    Counsel to Debtor
                                                                    Case No.: 18- 30507 (ABA)
    In Re:
                                                                    (Jointly Administered)
    American Gaming & Electronics, Inc.,1
                                                                    Chapter: 11

                             Debtor.


                           ORDER CONFIRMING DEBTOR'S MODIFIED
                         SECOND AMENDED PLAN OF REORGANIZATION


              The relief set forth on the following pages, numbered two (2) through eighteen (18) and

    including Exhibit A, is hereby ORDERED.




DATED: January 2, 2019




    1 The debtors in these Chapter 11 Cases and the last four digits of their employee identification numbers were:
    American Gaming & Electronics, Inc. (4630) and AG&E Holdings Inc. (4630). Since the Petition Date, these
    companies have merged under state law, with the surviving entity, AG&E Holdings, Inc., d/b/a American Gaming &
    Electronics, Inc.


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           THIS MATTER having been opened to the Court by AG&E Holdings, Inc., d/b/a

 American Gaming & Electronics, Inc., the above-captioned debtor and debtor in possession (the

 "Debtor" and, upon the Effective Date, "Reorganized Debtor"), by and through its counsel,

 Porzio, Bromberg & Newman, P.C. upon the filing of the Debtor's Chapter 11 Plan (as amended,

 the "Plan") (see Dkt. Nos. 45, 66 and 75), together with the Disclosure Statement2 (as amended,

 the "Disclosure Statement") (see Dkt. Nos. 44, 67 and 76); and upon that certain Order (I)

 Approving Disclosure Statement, (II) Fixing A Voting Record Date, (III) Determining Treatment

 Of Certain Claims For Notice And Voting Purposes, (IV) Establishing Procedures For Filing

 Objections To The Plan And Temporary Allowance Of Claims, And (V) Approving Solicitation

 Procedures For Confirmation Of The Plan Order (the "Disclosure Statement Order") (Dkt. No.

 81); and the Debtor having further filed a Certification Of Chief Executive Officer Anthony

 Tomasello In Support Of Confirmation Of The Plan (the "Tomasello Certification") (Dkt. No.

 125), and that certain Certification Of Balloting (Dkt. No. 116); and the Court having heard the

 arguments of counsel in support of confirmation of the Plan as well as any against confirmation

 of the Plan at a hearing before the Court on December 21, 2018 (the "Confirmation Hearing");

 and the Court having specifically overruled any Objections to confirmation; and upon all

 testimony presented or proffered and evidence admitted at the Confirmation Hearing; and the

 Court having taken judicial notice of the papers and pleadings on the Court's docket in the

 Debtor's bankruptcy cases; and the Court finding that: (a) notice of the Confirmation Hearing

 and the opportunity for any party in interest to object to the confirmation of the Plan was




 2 Capitalized terms not defined herein shall have the meaning ascribed to them in the Plan.
                                                          2

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 adequate and appropriate; and (b) the Debtor has established just cause for the relief granted

 herein;

           THE COURT HEREBY FINDS AND DETERMINES3 THAT:

 A.        Jurisdiction and Venue.

           1.     On October 15, 2018 (the "Petition Date"), the Debtors filed with this Court

 voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the

 "Bankruptcy Code").

           2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is

 a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (L) and (O).

           3.     As of the Petition Date, the Debtors' principal place of business was Hammonton,

 New Jersey. Accordingly, venue in the District of New Jersey (Camden Vicinage) was proper as

 of the Petition Date under 28 U.S.C. §§ 1408 and 1409.

 B.        Eligibility for Relief.

           4.     The Debtors were as of the Petition Date and remain today, entities eligible for

 relief under 11 U.S.C. § 109.

 C.        Judicial Notice.

           5.     This Court takes judicial notice of the entire docket in the chapter 11 case

 maintained by the Clerk of the Court including, without limitation, all pleadings and other

 documents filed, all orders entered, and evidence and arguments made, proffered, or adduced at

 the hearings held before the Court during the pendency of the chapter 11 case, including, but not


 3 This Confirmation Order constitutes the Court's findings of fact and conclusions of law under Fed. R. Civ. P. 52,
 as made applicable by Rule 9014 and 7052. Findings of fact shall be construed as conclusions of law and
 conclusions of law shall be construed as findings of fact where appropriate.
                                                         3

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 limited to, the hearing to consider the adequacy of the Disclosure Statement held on November

 19, 2018.

 D.        Transmittal and Mailing of Materials.

           6.     The Solicitation Packages (as defined in the Disclosure Statement Order) and

 related mailing were transmitted and served in compliance with the Bankruptcy Code, the

 Bankruptcy Rules, and all local bankruptcy rules, and such transmittal and service was sufficient,

 and no other or further notice is or shall be required.

           7.     As established through the Certificate of Service filed with the Court at Docket

 No. 112, the Debtor provided good and sufficient notice of the Confirmation Hearing and the

 deadline for serving objections to the Plan.

 E.        11 U.S.C. § 1129.

           8.     For the reasons stated in the Tomasello Certification and on the record of the

 Confirmation Hearing, the Plan satisfies each and every requirement for confirmation under 11

 U.S.C. § 1129.

 F.        11 U.S.C. § 1123(b)(6).

           9.     In accordance of section 1123(b)(6) of the Bankruptcy Code, the Plan includes

 additional appropriate provisions that are not inconsistent with the Bankruptcy Code. The

 releases, discharges, exculpations and injunctions set forth in the Plan, including but not limited

 to those identified in Article IX of the Plan, are approved as fair, equitable, reasonable, and in the

 best interests of the Debtors, Reorganized Debtors, creditors, and equity holders.

 G.        Bankruptcy Rule 3016.

           10.    The Plan and Disclosure Statement satisfy Bankruptcy Rule 3016 (a) and (b).

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           NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

 AS FOLLOWS:

 1.        Confirmation of Plan.

           11.   The Second Amended Plan (as same has been subsequently modified,

 supplemented, and amended prior to the entry of this Order), is hereby confirmed in each and

 every respect pursuant to section 1129 of the Bankruptcy Code, except as modified by this

 Confirmation Order.      A copy of the Modified Second Amended Plan as approved pursuant to

 this Order is annexed hereto as Exhibit A.

           12.   Any objections to confirmation of the Plan that have not been withdrawn or

 consensually resolved are overruled.

 2.        Ownership of the Debtor.

           13.   Effective immediately, and pursuant to sections 4.7 and 5.1 of the Plan, all

 interests of all existing stockholders or equity holders, save the interest of Anthony Tomasello,

 shall be discharged and cancelled and Anthony Tomasello shall become the 100% stockholder of

 the Debtor. Thus, from and after the date of entry of this Confirmation Order, the Debtor shall

 become and shall hereinafter be a private entity owned 100% by the Plan Sponsor, Mr. Anthony

 Tomasello.

           14.   To the maximum extent allowable under Section 1145 of the Bankruptcy Code,

 and pursuant to Section 5.6 of the Plan, the issuance and allocation of the Interests in the

 Reorganized Debtor pursuant to the Plan shall be exempt from registration under any federal,

 state or local law requiring registration for offer or sale of a security.



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           15.    Pursuant to section 1146(a) of the Bankruptcy Code and applicable state law, the

 issuance, transfer, or exchange of a security, or the making or delivery of an instrument of

 transfer under the Plan shall not be taxed under any law imposing a stamp tax or similar tax. See

 Plan Section 11.12.

           16.    Subsequent to the merger of American Gaming & Electronics, Inc., a Nevada

 corporation, in and to AG&E Holdings, Inc., and Illinois corporation, the Debtor's charter shall

 be amended to reflect the Debtor's name change to "American Gaming & Electronics, Inc." See

 Plan Section 5.10.

 3.        Releases.

           17.    As of the Effective Date, except as provided in the Plan or herein, all Persons

 shall be precluded from asserting against the Debtor, the Reorganized Debtor, or Anthony

 Tomasello, any other or further Claims, debts, rights, Causes of Action, claims for relief,

 liabilities, or equity interests relating to the Debtor based upon any act, omission, transaction,

 occurrence, or other activity of any nature that occurred prior to the Effective Date, except (the

 exception applying to Anthony Tomasello only) for any claims sounding in willful misconduct,

 actual fraud, gross negligence or personal injury.       In consideration of such release, Mr.

 Tomasello, the successor owner of the Reorganized Debtor, has, inter alia, contributed the

 "Confirmation Fund".

           18.    This Order shall be a judicial determination of discharge of all such Claims and

 other debts and liabilities against the Debtor, pursuant to Sections 524 and 1141 of the

 Bankruptcy Code, and such discharge shall void any judgment obtained against the Debtor



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 and/or Reorganized Debtor at any time, to the extent that such judgment relates to a discharged

 Claim. See Plan Section 9.3.

           19.    Via the signature of Anthony Tomasello, below, in his capacity as sole Director

 and Officer of the Reorganized Debtor, the Reorganized Debtor hereby undertakes and agrees to

 indemnify and hold harmless former Officers and Directors John R. Rauen, Sam A. Basile,

 Robert M. Pickus, and Francis X. McCarthy against any Claims, debts, rights, Causes of Action,

 claims for relief, liabilities, or equity interests relating to the Debtor based upon any act,

 omission, transaction, occurrence, or other activity of any nature that occurred prior to the

 Effective Date, except for claims based upon an adjudication of willful misconduct, actual fraud,

 or gross negligence.

 4.        Plan Binding / Revesting of Assets / Jurisdiction.

           20.    In accordance with section 1141 of the Bankruptcy Code, the provisions of the

 Plan shall be binding upon the Debtor and the Reorganized Debtor, any Person acquiring or

 receiving property under the Plan, any party to a contract or agreement with the Debtor or the

 Reorganized Debtor, any lessor or lessee of property to or from the Debtor or the Reorganized

 Debtor, and any Holder of a Claim against or an Interest in the Debtor or the Reorganized

 Debtor, whether or not such Claim or Interest is Impaired under the Plan and whether or not such

 Holder has filed a proof of Claim or Interest or has accepted the Plan. Every Holder of a Claim

 or Interest shall be precluded and permanently enjoined from asserting against the Debtor or the

 Reorganized Debtor any Claim based on any act, omission, transaction, contract, invoice, bill,

 instrument, judgment, award, order, or other activity of any kind or nature that occurred prior the

 Petition Date.

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           21.   Except as otherwise provided in the Plan or any agreement, instrument, or other

 document incorporated therein, on the Effective Date, all property in each Estate, all Causes of

 Action, and any property acquired by the Debtor pursuant to the Plan shall vest in the

 Reorganized Debtor, free and clear of all Liens, Claims, charges or other encumbrances (except

 for Liens expressly preserved and continued under the Plan as described in Plan Section 4.3). On

 and after the Effective Date, except as otherwise provided in the Plan, the Reorganized Debtor

 may operate its businesses and may use, acquire or dispose of property and compromise or settle

 any Claims, Interests or Causes of Action without supervision or approval by the Bankruptcy

 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. Without

 limiting any of the foregoing, the Reorganized Debtor may pay the charges incurred on or after

 the Effective Date for Professionals' fees, disbursements, expenses, or related support services

 without application to the Bankruptcy Court.

           22.   In accordance with section 1142 of the Bankruptcy Code, upon the entry of this

 Confirmation Order, the Debtor and the Reorganized Debtor, acting by and through its officers

 and agents, is authorized to take any and all actions necessary or appropriate to implement the

 Plan without further order of this Court.

           23.   All outstanding fees payable to the Office of the United States Trustee under 28

 U.S.C. § 1930 that have not been paid shall be paid when due in the ordinary course. Such fees

 are required to be paid to the Office of the United States Trustee until the cases are closed,

 dismissed or converted.




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           24.   In accordance with section 10.1 of the Plan, the Court retains jurisdiction over the

 Debtor and the Reorganized Debtor, its Estates, and the Plan as set forth therein and as permitted

 by applicable law and may issue any other order necessary to administer the Estates.

 5.        North Mill Financing.

           25.   Except as expressly provided for in section 4.3 of the Plan and this section 5 of

 the Confirmation Order, nothing in the Plan or the Confirmation Order shall or shall be deemed

 to in any way alter, amend, modify, revise or impair the rights, claims and interests of North Mill

 under the North Mill Loan Agreement. Except as expressly modified by the Plan and this section

 5 of the Confirmation Order, all of North Mill's rights, claims and interests under the North Mill

 Loan Agreement shall survive until North Mill is paid in full on its secured claim, including, but

 not limited to all rights with respect to the guarantors as described in section 9.6 of the Plan.

 North Mill's liens against the Debtor and the assets of the Debtor and the Reorganized Debtor

 shall continue uninterrupted until the loan is paid in full, notwithstanding anything in the Plan.

 The guarantors on the North Mill Loan shall remain fully liable to North Mill for the original

 amounts, terms and rates of interest (including default interest) as is set forth in the North Mill

 Prepetition Loan Documents as well as in the North Mill Final DIP Order until the loan is paid in

 full.

           26.   No future modification of the Plan or this Confirmation Order, as may otherwise

 be permitted or allowed by 11 U.S.C. § 1127(b), shall alter, modify, amend, restate, revise or

 otherwise impair any of North Mill's rights hereunder or under the Plan, unless North Mill has, in

 its sole discretion, previously consented thereto in writing.



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           27.   Upon entry of this order, any and all obligations of the Debtor and/or Reorganized

 Debtor to North Mill with respect to the junior participation interest of Anthony Tomasello in the

 North Mill Loan in the principal amount of $160,000 shall be and hereby is released and

 discharged, and such liability shall no longer exist.      In turn, any liability of North Mill to

 Anthony Tomasello in connection with the junior participation interest of Anthony Tomasello in

 the North Mill Loan in the principal amount of $160,000 shall simultaneously be and hereby is

 released and discharged and such liability shall no longer exist.

           28.   As placed on the record on December 21, 2018, the date of the Confirmation

 Hearing in this matter, the North Mill Loan balance on that date (assuming release and discharge

 in accordance with paragraph 27, above, of the $160,000 junior participation interest of Anthony

 Tomasello) totals approximately $350,000, not including fees and interest.

           29.   On or before December 24, 2018, Anthony Tomasello shall pay the sum of

 $50,000 to North Mill from personal funds, in order to reduce the Debtor's indebtedness to North

 Mill to approximately $300,000, using the December 21, 2018 Loan balance described in

 paragraph 28, above, not including fees and interest.

           30.   The Effective Date of the Plan shall not occur until the North Mill Loan is paid in

 full.

           31.   The North Mill Loan shall be paid in full by the Debtor and/or Anthony

 Tomasello on or before January 4, 2019. If payment is not made by such time, the Debtor shall

 be deemed in default of the North Mill Loan, and North Mill shall be entitled to pursue any and

 all remedies outlined under the North Mill Loan documents.



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           32.   Upon full payment of the North Mill Loan, North Mill shall provide a general

 release of the Debtor, the Reorganized Debtor, and the guarantors, and the Debtor, Reorganized

 Debtor, and the guarantors shall provide a general release to North Mill.

           33.   To the extent that by virtue of the historical lock box arrangement between the

 Debtor and North Mill, customers/account debtors continue to deliver their payments to the

 North Mill lock box account at Wells Fargo after North Mill has been paid in full, the Debtor or

 the Reorganized Debtor shall be responsible for setting up a new account and beginning on the

 date that North Mill is paid in full, the parties will work together as follows: (i) North Mill shall

 instruct Wells Fargo to refrain from cashing any customer checks or from depositing them into

 the lockbox account and shall instead instruct Wells Fargo to FedEx all uncashed customer

 checks to American Gaming & Electronics, 223 Pratt St, Hammonton, NJ 08037, with the

 charges for such FedEx to be charged to recipient, and (ii) with respect to ACH transfers, North

 Mill shall instruct Wells Fargo to move such collected amounts from the North Mill lock box

 account to the Debtor/Reorganized Debtor's new account. The parties will work together to

 accomplish this transition for a period of 30 days, in order to provide the Debtor/Reorganized

 Debtor with sufficient time to advise each of its customers of new payment arrangements. All

 incidental costs of transferring funds over, including bank fees and the like shall be the

 responsibility of the Debtors or Reorganized Debtors. At the conclusion of the 30-day period, no

 further ACH transfers nor payments of any type will be accepted into the North Mill lock box

 account at Wells Fargo. In the event that a customer's ACH transfer shall be reversed for any

 reason or no reason after the date that North Mill has been paid in full and released its liens, the

 Reorganized Debtor shall be responsible to make good on the reversed transaction and to cover

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 all bank fees and incidental charges relating to same and the Tomasello personal guaranty shall

 continue in full force and effect to cover all such obligations with respect to any such reversed

 customer transactions.

           34.   To the extent that North Mill is required to file any documents to evidence the

 continuation of its lien as against the Reorganized Debtor through the date of payment in full, the

 automatic stay provisions of the Bankruptcy Code are waived and/or annulled to permit such

 filing(s).

 6.        Administrative Claims.

           35.   Pursuant to section 3.3 of the Plan, the Reorganized Debtor is assuming, in the

 ordinary course of business, and shall pay, as and when they become due in the ordinary course

 of business and pursuant to regular trade terms, all General Administrative Claims.

 7.        Executory Contracts.

           36.   Pursuant to section 365 of the Bankruptcy Code and as stated in Article VII of the

 Plan, the Debtor's proposed assumption of the Executory Contracts/Unexpired Leases listed at

 Schedule 1 annexed to the Plan is hereby approved, effective as of the Confirmation Date. For

 the avoidance of doubt, and subject to section 5.8 of the Plan (and paragraph 33 herein), all

 contracts shall be rejected with the exception of the Wells Fargo contract regarding the Xerox

 Copier Model # B7035 Serial # 5DA092103, Account No. 603-0188838-000. The cure amounts

 set forth on Schedule 1 to the Plan with respect to the assumed Executory Contracts/Unexpired

 Leases shall govern the amount of the Debtor's and Reorganized Debtor's obligations under such

 Executory Contracts/Unexpired Leases for all purposes and for all time periods up to and

 including the Confirmation Date and any counterparty to an Executory Contract/Unexpired

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 Lease shall be forever barred and enjoined from seeking or claiming any other or further

 amounts from the Debtor or the Reorganized Debtor for any amounts that may be past due under

 such Executory Contracts/Unexpired Leases.

           37.   This Confirmation Order shall not affect any Executory Contract/Unexpired

 Lease that is expressly assumed or rejected by prior order of the Court pursuant to section 365 of

 the Bankruptcy Code.

           38.   Any Executory Contract/Unexpired Lease not assumed to date by separate order

 of the Court or pursuant to this Confirmation Order and Schedule 1 to the Plan shall be deemed

 rejected effective as of the Confirmation Date.

           39.   This Confirmation Order shall constitute an Order of the Bankruptcy Court,

 pursuant to Section 365 of the Bankruptcy Code, approving the assumption or rejection of each

 Executory Contract/Unexpired Lease as set forth above.

           40.   Any claim resulting from a rejection of an Executory Contract/Unexpired Lease

 must be filed in accordance with Plan section 7.3 within thirty (30) days from the entry of this

 Confirmation Order, or such Claim shall be forever barred and shall not be entitled to a

 distribution or enforcement against the Debtor or the Reorganized Debtor or their successors,

 assigns or assets.

 8.        Employee Obligations.

           41.   Pursuant to Section 5.8 of the Plan and except as otherwise provided in the Plan,

 the Reorganized Debtor shall honor the Debtor's written contracts, agreements, policies,

 programs and plans for, among other things, compensation, reimbursement, indemnity, health

 care benefits, disability benefits, deferred compensation benefits, travel benefits, vacation and

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 sick leave benefits, savings, severance benefits, retirement benefits, welfare benefits, relocation

 programs, life insurance and accidental death and dismemberment insurance, including written

 contracts, agreements, policies, programs and plans for bonuses and other incentives or

 compensation for the directors, officers and employees of the Debtor who served in such

 capacity at any time.         To the extent that the above-listed contracts, agreements, policies,

 programs and plans are executory contracts, pursuant to Sections 365 and 1123 of the

 Bankruptcy Code, each of them will be deemed assumed as of the Effective Date and assigned to

 the Reorganized Debtor.

 9.        Utility Deposits.

           42.    On the Effective Date, and pursuant to Section 5.10 of the Plan, all adequate

 assurance deposits made by the Debtor pursuant to the Interim Order dated October, 2018 (i)

 Prohibiting Utility Companies From Discontinuing, Altering Or Refusing Service On Account Of

 Prepetition Invoices, (ii) Deeming Utility Companies To Have Adequate Assurance Of Future

 Payment, And (iii) Establishing Procedures For Resolving Requests For Additional Assurance

 Pursuant To 11 U.S.C. §§ 105(a) and 366 (Dkt. No. 27), and any subsequent Final Order

 regarding same, shall be returned to the Debtor, and Debtor shall have no further obligation to

 maintain security deposits for utility providers beyond the terms of any written agreements with

 such providers.

 10.       Claim Objections.

           43.    Prior to the Effective Date, the Debtor shall have standing and the right to

 commence and pursue objections to Claims, and the Reorganized Debtor shall have such

 standing after the Effective Date. Pursuant to Plan Sections 1.18 and 6.12, all objections to

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 Claims shall be Filed with the Bankruptcy Court by the later of (i) thirty (30) days after the

 Effective Date, or (ii) thirty (30) days after a Proof of Claim or request for payment with respect

 to a Claim is filed, unless the objection deadline is extended by order of the Bankruptcy Court

 upon the request of the Reorganized Debtor, and served upon the Holders of each of the Claims

 to which objections are made. The Debtor or Reorganized Debtor shall have the right, after

 notice and a hearing, to seek an extension of the Claim Objection Deadline and such an

 extension shall not be deemed a material modification of the Plan.

           44.   An objection to the allowance of a Claim shall be in writing and shall be Filed

 with the Bankruptcy Court by the Debtor or Reorganized Debtor. Except as expressly set forth

 herein, nothing herein, in the Confirmation Order or in any Order in aid of Confirmation, shall

 constitute, or be deemed to constitute, a waiver or release of any Claim, Cause of Action,

 Avoidance Action, right of setoff or recoupment or other legal or equitable defense which the

 Debtor had immediately prior to the commencement of the Bankruptcy Cases against or with

 respect to any Claim.      Except as set forth herein, upon Confirmation, the Debtor and

 Reorganized Debtor shall have, retain, reserve and be entitled to assert all such Claims, Causes

 of Action, rights of setoff and recoupment and other legal or equitable defenses that the Debtor

 had immediately prior to the commencement of the Bankruptcy Cases against or with respect to

 any Claim.

 11.       Intercompany Claims.

           45.   Pursuant to Section 4.5 of the Plan, any Claim previously held by AG&E

 Holdings, Inc. and American Gaming & Electronics, Inc. against each other shall not exist

 following the post-petition merger of these two companies. See Plan Section 1.46. For the

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                 REORGANIZATION

 avoidance of doubt, pursuant to the Plan, Intercompany Claims shall be expunged and shall not

 constitute Allowed Claims.

 12.       Professional Fee Claims.

           46.   On the first business day following the Confirmation Date, and as a condition

 precedent to the Plan going effective, the Professionals will receive from the Professional Fee

 Fund, payment in full of any and all fees payable as of that date pursuant to the Court's

 Administrative Fee Order entered by the Court on November 20, 2018, with the exception that to

 the extent that the Professional Fee Fund is insufficient to pay said amounts in full, then in such

 case professionals shall receive a respective pro-rata distributions of the Professional Fee Fund at

 that time.

           47.   Thereafter, following Court Approval of the Professionals' Final Fee

 Applications, the Professionals will receive payment of any remaining unpaid portions of their

 Allowed Professional Fee Claims incurred through the Effective Date, without interest, in Cash,

 upon court approval of same, from the Reorganized Debtor.

           48.   With respect to Podium Strategies LLC and McElroy, Deutsch, Mulvaney &
                    the parties' rights are reserved with regard hereto and the matters will be addressed pursuant
 Carpenter, LLP, the Reorganized Debtor shall also be responsible for any amounts due to such
 to the schedule previously established by the court (see docket entries for 12/21/18) however, pursuant to the
 professionals for time billed to the Debtor prior to the dates of their retention or the effective
 court's General Order Incorporating By Reference Standing Order 18-4 of the United States District Court for
 dates of their retention. the District of New Jersey As Applied to Bankruptcy Cases and Adversary
 Proceedings, dated 12/28/18, those matters are temporarily stayed and can be rescheduled once the stay expires.
 13.     Disbursing Agent.

           49.   Porzio, Bromberg & Newman shall be the Disbursing Agent in accordance with

 Section 6.1 of the Plan and shall be responsible for all distributions required under the Plan,

 including (A) distributions from the Unsecured Creditor Fund under Section 4.4 of the Plan, and

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 (B) distributions from the Professional Fee Fund under Section 3.2 of the Plan. Notwithstanding

 the foregoing, Porzio, Bromberg & Newman shall have no obligation to make distributions from

 the Confirmation Fund on account of either Priority Claims or Administrative Claims, both of

 which shall be the responsibility of the Reorganized Debtor.

 14.       NOLS

           50.    Under the Plan, and pursuant to section 382(l)(5) of the Internal Revenue Code,

 the Debtor's Net Operating Loss carryforwards ("NOLs") will remain with the Reorganized

 Debtor insofar as an existing 31% equity owner, specifically, the Plan Sponsor has become the

 100% owner of the stock of the Reorganized Debtor, in compliance with the "greater than 50%"

 requirement set forth in IRC section 382(l)(5).       Confirmation of the Plan, and the discharge

 obtained pursuant to section 1141(d)(1) of the Bankruptcy Code will also constitute a

 cancellation of substantial amounts of indebtedness of the Debtor, resulting in what is known as

 Cancellation of Indebtedness Income ("CODI"). Pursuant to IRC Section 108(b)(2)(A), the

 NOLs that pass to the Reorganized Debtor will be reduced by the CODI, on a dollar for dollar

 basis. Nothing contained herein or in the Plan shall impair the Debtor's rights under the Internal

 Revenue Code with respect to the NOLs.

 15.       Effectiveness of All Actions.

           51.    Except as set forth in the Plan, all actions authorized to be taken pursuant to the

 Plan shall be effective on, prior to, or after the Effective Date pursuant to this Confirmation

 Order, without further application to, or order of, the Court.




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 16.       Approval of Consents / Authorization to Consummate / This Order Controls.

           52.   The Debtor and the Reorganized Debtor are authorized to consummate the Plan,

 and in connection therewith are authorized to execute any agreements or documents, and take

 such actions as may be necessary or appropriate to effectuate the Plan at any time after the entry

 of the Confirmation Order subject to satisfaction or waiver (by the required parties) of the

 conditions precedent to Confirmation of the Plan.

           53.   If there is any direct conflict between the terms of the Plan and the terms of this

 Confirmation Order, the terms of this Confirmation Order shall control.

 17.       Final Confirmation Order / Waiver of Stay

           54.   This Confirmation Order is a final order and the period in which an appeal must

 be filed shall commence upon the entry hereof.

           55.   The stay of this Confirmation Order provided by any Bankruptcy Rule (including

 Bankruptcy Rule 3020(e)), whether for fourteen (14) days or otherwise, is hereby waived, and

 this Confirmation Order shall be effective and enforceable immediately upon its entry by the

 Court.



                                               _/s/ Anthony Tomasello______________________
                                               Anthony Tomasello, President, Reorganized Debtor




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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1
 PORZIO, BROMBERG & NEWMAN, P.C.
 100 Southgate Parkway
 P.O. Box 1997
 Morristown, New Jersey 07962
 (973) 538-4006
 (973) 538-5146 Facsimile
 Warren J. Martin Jr., Esq. (wjmartin@pbnlaw.com)
 Kelly D. Curtin, Esq. (kdcurtin@pbnlaw.com)
 Rachel A. Parisi, Esq. (raparisi@pbnlaw.com)
 Counsel to Debtor
                                                        Case No.: 18-30507 (ABA)
 In Re:
                                                        (Jointly Administered)
                                       1
 American Gaming & Electronics, Inc.,
                                                        Chapter: 11

                       Debtors.

           DEBTOR'S MODIFIED SECOND AMENDED PLAN OF REORGANIZATION




 1
  The debtors in these Chapter 11 Cases and the last four digits of their employee identification
 numbers were: American Gaming & Electronics, Inc. (4630) and AG&E Holdings Inc. (4630).
 Since the Petition Date, these companies have merged, with the surviving entity, AG&E
 Holdings, Inc., d/b/a American Gaming & Electronics, Inc.

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                                                LIST OF SCHEDULES

 SCHEDULE 1                   LIST OF EXECUTORY CONTRACTS AND UNEXPIRED LEASEOF
                              NON-RESIDENTIAL REAL PROPERTY ASSUMED UNDER THE
                              PLAN.




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                                        INTRODUCTION

         AG&E Holdings, Inc., d/b/a American Gaming & Electronics, Inc., as debtor and debtor-
 in-possession (the "Debtor" or "Debtor-in-Possession"), pursuant to the provisions of chapter
 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended) (the
 "Bankruptcy Code"), submits this Plan of Reorganization for the resolution of its outstanding
 Claims and Interests (as those terms are defined herein). For a discussion of the Debtor's history,
 business, risk factors associated with the Plan and for a summary and analysis of the Plan and
 related matters, reference is made to the Disclosure Statement (as defined herein).

        Subject to the restrictions on modification set forth in Section 1127 of the Bankruptcy
 Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure and the provisions of the Plan,
 the Debtor expressly reserves its rights to alter, amend, or modify the Plan, as needed, before its
 substantial consummation.

                                           ARTICLE I.
                                          DEFINITIONS

         Unless otherwise provided in the Plan, all terms used herein shall have the meanings
 assigned to such terms in the Bankruptcy Code or the Bankruptcy Rules. For the purposes of the
 Plan, the following terms (which appear in the Plan in capitalized forms) shall have the meanings
 set forth below, and such meanings shall be equally applicable to the singular and to the plural
 form of the terms defined, unless the context otherwise requires.

                1.1     "Administrative Claim" shall mean, and be the collective reference to,
 all costs and expenses of administration of this case with priority under Section 507(a)(1) of the
 Bankruptcy Code, including, without limitation, costs and expenses allowed under Section
 503(b) of the Bankruptcy Code, the actual and necessary costs and expenses of preserving the
 Estate of the Debtor, excluding Professional Fee Claims, the North Mill Claim and any Claims
 for U.S. Trustee Fees.

               1.2      "AG&E Holdings, Inc." shall mean, as of the Petition Date and prior to
 the Court approved merger of American Gaming & Electronics, Inc. into it, the parent and 100%
 owner of co-debtor, American Gaming & Electronics, Inc. It had no assets other than its
 ownership interest in the co-debtor.

                 1.3    "Allowed" shall mean (a) when used with respect to a General
 Administrative Claim, a claim for which an Administrative Proof of Claim has been filed by the
 Administrative Claims Bar Date, and such claim has either: (i) not been objected to by the date
 of any deadline set by the Court for objection to administrative claims, or (ii) has been objected
 to and the Claim has been approved by Final Order of the Court allowing the amount of the
 Claim; or (b) when used with respect to claims other than Administrative Claims, such Claim or
 any portion thereof (i) has been allowed or adjudicated in favor of the Holder by estimation or
 liquidation in a Final Order; (ii) a Proof of Claim has been Filed and no objection has been Filed
 by the Debtor by any deadline set by the Court for filing objections to claims; (iii) the Claim has
 been scheduled by the Debtor without any listing of "Contingent, Unliquidated, or Disputed" in
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 the Debtor's Schedules; or (iv) that is expressly allowed in a liquidated amount in the Plan. If a
 Proof of Claim in a liquidated amount has been timely Filed and an objection to the allowance
 thereof is timely Filed, then the claim shall be Allowed only to the extent that such objection has
 been settled or withdrawn or the Claim or Interest has been Allowed by a Final Order. No Claim
 or Interest shall be Allowed to the extent that the Holder thereof either possesses property
 recoverable by the Estates under Sections 542, 543, 550, or 553 of the Bankruptcy Code or is the
 transferee of a transfer avoidable under Sections 522(f), 522(h), 544, 545, 547, 548, 549, or
 724(a) of the Bankruptcy Code until such time as such Holder has paid the amount or turned
 over any such property for which the Holder is liable. Except as otherwise specified in the Plan
 or a Final Order (e.g., with respect to the North Mill Claim) the amount of an Allowed Claim
 shall not include interest on such Claim from and after the Petition Date.

                1.4     "Allowed Professional Fee Claim" shall mean (a) prior to the time that
 the Court has entered Final Orders pursuant to Section 6.2(b) of the Plan approving the Allowed
 amount of Professional Fee Claims, all professional fees authorized to be paid pursuant to the
 Administrative Fee Order Establishing Procedures For Allowance and Payment of Interim
 Compensation and Reimbursement of Expenses to Professionals; and (b) after the time that the
 Court has entered Final Orders pursuant to Section 6.2(b) of the Plan, the amount approved for
 the respective Professional as contained in such Final Order.

               1.5     "Allowed" [Class 1, Class 2, Class 3, Class 4, Class 5, Class 6, or Class
 7 Claim] as the case may be, shall mean an Allowed Claim in the designated Class.

                1.6     "Unsecured Claim" shall mean any Claim which is not a (i) Secured
 Claim, (ii) North Mill Claim, (iii) Junior DIP Claim; (iv) Administrative Claim, (v) Professional
 Fee Claim, (vi) Priority Claim, (vii) Priority Tax Claim, or (viii) Claim for U.S. Trustee Fees.

                1.7     "American Gaming & Electronics, Inc." shall mean, as of the Petition
 Date and prior to its merger with and into AG&E Holdings, Inc., the operating company that was
 a co-debtor herein, and a separate entity 100% owned by co-debtor, AG&E Holdings, Inc.

                1.8    "Assets" shall mean all of the rights, title, and interests of the Debtor in
 and to property of any type or nature (real, personal, intangible, and mixed), known and
 unknown, including property of the Estates as such property is defined in Section 541 of the
 Bankruptcy Code, as well as all property and Cash in the Debtor's possession, custody, or control
 on the Effective Date, including without limitation Claims, Causes of Action and the proceeds
 thereof, and Insurance Policies and the proceeds thereof.

               1.9      "Avoidance Action(s)" shall mean all claims and causes of action arising
 under Chapter 5 of the Bankruptcy Code and any fraudulent conveyance or transfer actions to be
 brought under state or federal law.

                1.10 "Bankruptcy Cases" shall mean the chapter 11 bankruptcy cases of
 AG&E Holdings, Inc. and American Gaming & Electronics, Inc. filed on October 15, 2018
 pending before the Bankruptcy Court and as being jointly administered with one another under
 Case No. 18-30507 (ABA); and as to any Debtor individually, a Bankruptcy Case. With the
 merger of the companies, the continuing Bankruptcy Case is with respect to Case No. 18-30507.


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               1.11 "Bankruptcy Code" shall mean title 11 of the United States Code, 11
 U.S.C. §§ 101 et seq., as now in effect or hereafter amended.

                1.12 "Bankruptcy Court" or "Court" shall mean the United States District
 Court for the District of New Jersey with jurisdiction over the Debtor's Bankruptcy Case and, to
 the extent of any reference made pursuant to 28 U.S.C. § 157, the United States Bankruptcy
 Court for the District of New Jersey, or any court having competent jurisdiction to enter the
 Confirmation Order.

                1.13 "Bankruptcy Rules" shall mean the Federal Rules of Bankruptcy
 Procedure, the Official Bankruptcy Forms, the Federal Rules of Civil Procedure, the Local Rules
 of the United States District Court for the District of New Jersey, and the Local Rules of the
 Bankruptcy Court, as applicable to the Cases or proceedings therein, as the case may be.

                 1.14 "Bar Date" shall mean the General Unsecured and Priority Claims Bar
 Date, i.e., December 7, 2018,, which was the last date set pursuant to the General Bar Date Order
 entered by the Court on October 18, 2018 [Docket No. 28] for each Person to file a proof of
 claim pursuant to Bankruptcy Rule 3002.

                1.15 "Business Day" shall mean any day, excluding Saturdays, Sundays, or
 "legal holidays" (as referenced in Bankruptcy Rule 9006(a)), on which commercial banks are
 open for business in Newark, New Jersey.

                1.16    "Cash" shall mean legal tender of the United States of America and
 equivalents thereof.

                 1.17 "Cause of Action" or "Causes of Action" shall mean all claims, causes
 of action, third-party claims, counterclaims and cross-claims of any kind or nature (including but
 not limited to any Causes of Action described in the Disclosure Statement) against any entity
 based in law or equity, including, without limitation, under the Bankruptcy Code, whether direct,
 indirect, derivative or otherwise, and whether asserted or unasserted as of the date of entry of the
 Confirmation Order, inclusive of Avoidance Actions.

                1.18 "Claim Objection Deadline" means the date that is the later of (i) thirty
 (30) days after the Effective Date, or (ii) thirty (30) days after a Proof of Claim or request for
 payment with respect to a Claim is filed, unless the objection deadline is extended by order of the
 Bankruptcy Court upon the request of the Reorganized Debtor.

                1.19 "Claim" shall mean a claim against the Debtor as defined by Section
 101(5) of the Bankruptcy Code.

                1.20 "Class" shall mean any category of Holders of Claims or Interests as
 specified in Article II of the Plan.

                1.21 "Committee" shall mean any Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee in these cases.

                1.22 "Confirmation" shall mean the entry of the Confirmation Order on the
 dockets of the Bankruptcy Cases.
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                1.23 "Confirmation Date" shall mean the date on which the Confirmation
 Order is entered by the Bankruptcy Court.

               1.24 "Confirmation Fund" shall mean the sum of up to $300,000 to be
 contributed by the Plan Sponsor prior to the Effective Date and used to: (i) supplement cash on
 hand on the Effective Date to create the Professional Fee Fund which fund shall have a balance
 of $200,000 as of the Effective Date, and (ii) create the Unsecured Creditor Fund in the amount
 of $100,000. The Confirmation Fund shall be funded prior to the Effective Date, and the
 Disbursing Agent shall have exclusive authority to make distributions from the Confirmation
 Fund.

              1.25 "Confirmation Hearing" shall mean the hearing(s) at which the
 Bankruptcy Court considers confirmation of the Plan.

                1.26 "Confirmation Order" shall mean the order of the Bankruptcy Court
 confirming the Plan, pursuant to Section 1129 of the Bankruptcy Code, and approving the
 transactions contemplated herein.

               1.27    "Creditor" shall mean a Holder of a Claim against the Debtor.

                1.28 "Debtor" shall mean, post-merger, AG&E Holdings, Inc., d/b/a American
 Gaming & Electronics, Inc., as debtor-in-possession in the Bankruptcy Case. Any reference to
 the Debtor shall be a reference to the Reorganized Debtor if such reference is to the Debtor from
 and after the Effective Date.

               1.29    "Disbursing Agent" shall mean Porzio, Bromberg & Newman, P.C.

                1.30 "Disclosure Statement" shall mean the written Disclosure Statement for
 this Joint Plan of Reorganization approved in accordance with Section 1125 of the Bankruptcy
 Code and Rule 3018 of the Bankruptcy Rules.

                1.31 "Disclosure Statement Order" shall mean the Order Approving the
 Disclosure Statement entered by the Bankruptcy Court.

                 1.32 "Disputed" shall mean, with respect to any Claim that has not been
 Allowed, as to which the Debtor or Reorganized Debtor has timely Filed a Claim objection or
 request for estimation in accordance with the Bankruptcy Code and the Bankruptcy Rules, or any
 Claim otherwise challenged by the Debtor or Reorganized Debtor in accordance with applicable
 law and the terms of the Plan.

                 1.33 "Disputed Claim Reserve" shall mean such amounts as are necessary to
 satisfy all distributions in respect of Disputed Claims assuming that all Disputed Claims are
 Allowed in the amount asserted by the Holders of such Disputed Claims.

                 1.34 "Distribution Date" shall mean the date occurring as soon as reasonably
 practicable after the Effective Date when distributions under the Plan shall commence, but not
 later than fourteen (14) days after the Effective Date, without further Bankruptcy Court Order.


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                1.35 "Effective Date" shall mean the first Business Day on which all
 conditions precedent to the effectiveness of the Plan have been satisfied or waived as provided in
 the Plan, unless extended in accordance with the terms of the Plan.

               1.36 "Estate" shall mean the Estate of the Debtor created by Section 541 of
 the Bankruptcy Code upon the commencement of the Bankruptcy Case.

                1.37 "Executory Contract/Unexpired Lease" shall mean any executory
 contract or unexpired lease between the Debtor and any other Person.

              1.38      "Filed" shall mean filed with the clerk of the Bankruptcy Court in the
 Bankruptcy Cases.

                1.39    "Final Decree" shall mean the decree contemplated under Bankruptcy
 Rule 3022.

                 1.40 "Final Order" shall mean an order entered by the Bankruptcy Court or
 other court of competent jurisdiction on its docket as to which (i) the time to appeal, petition for
 certiorari, or move for reargument or rehearing has expired and as to which no appeal, writ of
 certiorari, or other proceedings for reargument or rehearing are then pending or (ii) in the event
 that an appeal, writ of certiorari, reargument, or rehearing thereof has been sought, such order of
 the Bankruptcy Court or any other court or adjudicative body has been affirmed by the highest
 court to which such order was appealed, or certiorari has been denied, or from which reargument
 or rehearing was sought, and the time to take any further appeal, petition for certiorari or move
 for reargument or rehearing has expired; provided, however, that no order shall fail to be a Final
 Order solely because of the possibility that a motion pursuant to Rule 60 of the Federal Rules of
 Civil Procedure, Rule 9024 of the Bankruptcy Rules, or any similar rule under the Bankruptcy
 Rules or the Federal Rules of Civil Procedure may be filed with respect to such order..

                1.41 "General Unsecured Claim" shall mean any Claim against the Debtor,
 other than a Secured Claim, the North Mill Claim, an Administrative Claim, a Professional Fee
 Claim, a Claim for U.S. Trustee Fees, a Priority Tax Claim, a Priority Claim, a Subordinated
 Claim, or an Interest.

                1.42    "Holder" shall mean the owner or holder of any Claim or Interest.

              1.43      "Impaired" shall have the meaning set forth in Section 1124 of the
 Bankruptcy Code.

                1.44 "Insider" shall have the meaning assigned to such term in Section
 101(31) of the Bankruptcy Code.

               1.45 "Insurance Policy" shall mean any contract of or other rights to
 insurance under which the Debtor has, may have or assert any direct rights as an insured party,
 additional named insured party, loss payee, or otherwise.

                1.46 "Intercompany Claims" means, collectively, any Claim previously held
 by AG&E Holdings, Inc. and American Gaming & Electronics, Inc. No Intercompany Claims
 exist following the post-petition merger of these two companies as approved by the Court.
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                 1.47 "Interest" shall mean the legal, equitable, contractual, or other rights of a
 Holder of any existing equity interest in the Debtor or Reorganized Debtor (solely in their
 capacity as Holders thereof), and shall include, any common stock, or equity security as defined
 in section 101(16) of the Bankruptcy Code, equity, ownership, profit interest, unit or share in the
 Debtor, including all options, warrants, rights, or other securities or agreements to obtain such an
 interest or share in the Debtor, whether or not arising under or in connection with any
 employment agreement and whether or not certificated, transferable, preferred, common, voting,
 or denominated "stock" or a similar security, as well as the rights of any Person to purchase or
 demand the issuance of any such interest, including (i) conversion, exchange, voting,
 participation, and dividend rights; (ii) liquidation preferences; (iii) stock options, warrants, and
 put rights; and (iv) share-appreciation rights; or (v) any other stock, membership, or other equity
 right pertaining or in any way relating to the Debtor or Reorganized Debtor.

              1.48      "Lien" shall have the meaning set forth in Section 101(37) of the
 Bankruptcy Code.

                1.49 "Merger" shall mean the Court approved merger of American Gaming &
 Electronics, Inc. with and into AG&E Holdings, Inc., with the surviving entity, AG&E Holdings,
 Inc. d/b/a "American Gaming & Electronics, Inc."

                1.50    "North Mill" shall mean North Mill Capital LLC.

                1.51 "North Mill Claim" shall mean any and all Claims, of any and every kind
 or nature, of North Mill arising under or based upon the prepetition North Mill Loan as well as
 based upon the North Mill Cash Collateral and DIP Agreement and Consent Order [Docket No.
 23].

                1.52 "North Mill Cash Collateral and DIP Agreement" shall mean that
 certain Agreement attached as Exhibit A to Docket No. 12, as approved in the Bankruptcy Cases
 on October 18, 2018 on an interim basis [Docket No. 23], collectively with all related documents
 and agreements, and any amendments, modifications and revisions thereto, as approved and
 authorized by the Bankruptcy Court pursuant to the North Mill Interim Cash Collateral and DIP
 Order and the North Mill Final Cash Collateral and DIP Order.

               1.53 "North Mill Final Cash Collateral and DIP Order" shall mean the
 Final Order Pursuant to 11 U.S.C. §§ 105, 362, 363, 364, 503 and 507 (1) Authorizing Debtors to
 (A) and Granting Other Related Relief, to be entered by the Bankruptcy Court.

               1.54 "North Mill Loan" or "North Mill Facility" shall mean that prepetition
 loan evidenced by, inter alia, a Loan and Security Agreement dated November 22, 2017 with
 North Mill Capital (the "North Mill Loan Agreement"), as may be amended, supplemented,
 amended and restated or otherwise modified from time to time.

               1.55 "Objection Deadline" shall mean the date established by the Bankruptcy
 Court in the Disclosure Statement Order for parties in interest to file objections to Confirmation
 of the Plan.



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               1.56 "Other Secured Claim" shall mean any Secured Claim against the
 Debtor, excluding the North Mill Claim.

                1.57 "Person" shall mean any individual, corporation, limited liability
 company, professional corporation, general partnership, limited partnership, limited liability
 partnership, association, joint stock company, joint venture, estate, trust, unincorporated
 organization, government or any political subdivision thereof or other entity.

                1.58 "Petition Date" shall mean October 15, 2018, the date on which AG&E
 Holdings, Inc. and American Gaming & Electronics, Inc. filed the Bankruptcy Cases.

                1.59 "Plan" shall mean this Plan of Reorganization and any exhibits and
 schedules hereto and any documents incorporated herein by reference as such Plan or such
 exhibits or schedules may be amended, modified, or supplemented from time to time.

                1.60 "Plan Sponsor" shall mean Anthony Tomasello, the pre-petition 31%
 shareholder of AG&E Holdings, Inc. and President and Chief Executive Officer of the Debtor.

                 1.61 "Post-Petition Interest" shall mean with respect to Secured Claims
 entitled to interest pursuant to Section 506 of the Bankruptcy Code: (i) the interest accruing on
 such claims from the Petition Date through the Effective Date at the rate set forth in the contracts
 or other applicable documents giving rise to such Claims (to the extent lawful), (ii) if the
 applicable instruments do not specify a rate of interest, at the Federal Post-Judgment Rate of
 Interest as provide for in 28 U.S.C. § 1961, as in effect on the Petition Date, or (iii) as
 determined by the Bankruptcy Court to be required by Section 1124 of the Bankruptcy Code.

                1.62 "Priority Claim" shall mean all Claims that are entitled to priority
 pursuant to Section 507 of the Bankruptcy Code and that are not Administrative Claims or
 Priority Tax Claims.

                1.63 "Priority Tax Claim" shall mean a Claim of the kind specified in Section
 507(a)(8) of the Bankruptcy Code.

               1.64 "Professional" shall mean a Person (a) employed by the Debtor or any
 Committee formed by the United States Trustee pursuant to a Final Order in accordance with
 Sections 327, 328 and/or 1103 of the Bankruptcy Code and to be compensated for services
 rendered prior to the Effective Date, pursuant to Sections 327, 328, 329, 330, and 331 of the
 Bankruptcy Code, (b) for which compensation and reimbursement has been Allowed by the
 Bankruptcy Court pursuant to Section 503(b)(4) of the Bankruptcy Code by a Final Order.

                1.65 "Professional Fee Claim" shall mean all Claims for fees and expenses
 asserted by Professionals retained by the Debtor and any Committee appointed in this Chapter 11
 Case under Sections 330 and 331 of the Bankruptcy Code and which remain unpaid as of the
 Effective Date.

               1.66 "Professional Fee Fund" shall mean the sum of $200,000, deposited by
 the Plan Sponsor with the Disbursing Agent prior to the Confirmation Date.


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               1.67 "Proof of Claim" shall mean a written statement that (i) sets forth a
 Claim and (ii) conforms substantially to the Bankruptcy Rules and any Final Order regarding
 same.

                1.68 "Record Date" shall mean the date the Disclosure Statement Order is
 entered by the Bankruptcy Court.

               1.69 "Reinstated" or "Reinstatement" shall mean or refer to a Claim
 provided with the treatment described under Section 1124 of the Bankruptcy Code. All
 Reinstated Claims shall be Unimpaired.

               1.70 "Releasees" shall mean, in conjunction with the Effective Date, the
 Reorganized Debtor and its current and former (but only as of the Petition Date) officers,
 directors, members, attorneys and advisors.

                1.71 "Reorganized Debtor" shall mean, post-merger, the single surviving
 entity, AG&E Holdings, Inc., d/b/a American Gaming and Electronics, Inc. when used to refer to
 the Debtor on and after the Effective Date.

                1.72 "Reorganized American Gaming & Electronics, Inc." shall mean the
 surviving reorganized Debtor entity on and after the Effective Date.

               1.73 "Schedules" shall mean the Statement of Financial Affairs and Schedules
 of Assets and Liabilities, as same may be amended from time to time, filed by AG&E and
 American Gaming & Electronics, Inc. with the Bankruptcy Court on October 15, 2018 pursuant
 to Bankruptcy Rule 1007.

               1.74 "Substantial Consummation" shall mean, in addition to its meaning
 under Section 1101(2) of the Bankruptcy Code, the occurrence of the Effective Date.

                1.75 "Secured Claim" shall mean, a Claim that is (i) secured by a Lien on
 Assets, which Lien is valid, perfected and enforceable under applicable law by reason of a Final
 Order, limited to the extent of the Lien on such Assets; or (ii) subject to setoff, under Section 553
 of the Bankruptcy Code, against any Assets, to the extent of the amount subject to setoff, as
 applicable, as determined pursuant to Section 506(a) of the Bankruptcy Code; or (iii) Allowed
 under the Plan as a Secured Claim.

                 1.76 "Subordinated Claim(s)" shall mean any Claim (i) that is subordinate to
 the rights of Holders of General Unsecured Claims by virtue of Section 510 of the Bankruptcy
 Code, applicable law or agreement, or (ii) asserted by an Insider of the Debtor, including,
 without limitation, those certain promissory note made by AG&E Holdings, Inc., in the amount
 of $2 million in favor of Anthony Tomasello.

                1.77 "Unclassified Claim(s)" shall mean the General Administrative Claims,
 Priority Tax Claims, U.S. Trustee Fees and Professional Fee Claims.

               1.78 "Unimpaired" means any Claim that is not Impaired within the meaning
 of Section 1124 of the Bankruptcy Code.

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               1.79 "Unsecured Creditor Fund" means the sum of $100,000, deposited by
 the Plan Sponsor with the Disbursing Agent prior to the Effective Date.

                1.80    "U.S. Trustee" shall mean the United States Trustee for Region 3.

                1.81 "U.S. Trustee Fees" shall mean all outstanding fees payable to the Office
 of the U.S. Trustee under 28 U.S.C. § 1930 arising under both Bankruptcy Cases, including any
 interest due under 31 U.S.C. § 3717.

                                     ARTICLE II.
                       CLASSIFICATION OF CLAIMS AND INTERESTS

                  2.1    Classification. All Claims and all Interests, as defined herein and in
 Section 101(5) of the Bankruptcy Code, except for the Professional Fee Claims, General
 Administrative Claims, U.S. Trustee Fees, and Priority Tax Claims, are placed into the Classes
 set forth below. Pursuant to Section 1123(a)(1) of the Bankruptcy Code, Professional Fee
 Claims, General Administrative Claims, U.S. Trustee Fees, and Priority Tax Claims, as described
 below, are not classified in the Plan, and the treatment of such Claims is set forth in Article II
 below. A Claim or Interest is placed in a particular Class only to the extent that the Claim or
 Interest falls within the description of that Class and is classified in other Classes to the extent
 that any portion of such Claim or Interest falls within the description of such other Classes. A
 Claim or Interest is also placed in a particular Class for the purpose of receiving distributions
 pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest
 in that Class and such Claim or Interest has not been paid, discharged, released or otherwise
 settled prior to the Effective Date.

                 2.2     Unclassified Claims. Unclassified Claims are not Impaired by the Plan.
 Each Holder of an Unclassified Claim is conclusively presumed to have accepted the Plan and,
 therefore, is not entitled to vote to accept or reject the Plan. The following are the Unclassified
 Claims: Professional Fee Claims, General Administrative Claims, U.S. Trustee Fees, and
 Priority Tax Claims.

               2.3     Classified Claims. As set forth in the table below, Classes 1 & 2 are
 Unimpaired under the Plan, and, pursuant to Section 1126(f) of the Bankruptcy Code, are
 conclusively presumed to have accepted the Plan. Classes 5, 6, and 7 are fully Impaired and are
 not receiving any Distributions under the Plan and, pursuant to Section 1126(g) of the
 Bankruptcy Code, are conclusively presumed to have rejected the Plan. Classes 3 and 4 are
 Impaired under the Plan and are entitled to vote on the Plan.

     Class         Claims and Interests                     Status           Voting Rights
     Class 1       Priority Claims                          Unimpaired       Not Entitled to Vote
                                                                             (Deemed to Accept)
     Class 2       Allowed Other Secured Claims             Unimpaired       Not Entitled to Vote
                                                                             (Deemed to Accept)
     Class 3       North Mill Claim                         Impaired         Entitled to Vote
     Class 4       General Unsecured Claims                 Impaired         Entitled to Vote

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     Class            Claims and Interests                   Status          Voting Rights
     Class 5          Intercompany Claims                    Impaired        Not Entitled to Vote
                                                                             (Deemed to Reject)
     Class 6          Subordinated Claims                    Impaired        Not Entitled to Vote
                                                                             (Deemed to Reject)
     Class 7          Interests                              Impaired        Not Entitled to Vote
                                                                             (Deemed to Reject)

                                     ARTICLE III.
                           TREATMENT OF UNCLASSIFIED CLAIMS

               3.1     Administrative Creditor Claims. The legal and equitable rights of the
 holders of Administrative Claims other than Professional Fee Claims shall remain unaltered by
 the Plan. The holders of Administrative Claims shall continue to be paid, post Confirmation, in
 accordance with their ordinary business terms until paid in full.

                3.2       Professional Fee Claims.

                        (a)     Premised upon the payment and the timing described in Section
 3.2(b)(i) immediately below, the Professionals have agreed to limit their recovery from the
 Debtor on account of their Allowed Professional Fee Claims to the funds available in the
 Professional Fee fund, in full and final satisfaction, vis a vis the Debtor, of such pre-Effective
 Date Claims, to be paid in accordance with Section 3.2(b) below. The Disbursing Agent shall
 administer all distributions to Professionals under this Section. All necessary applications by
 Professionals for compensation and reimbursement of expenses in connection with the
 Bankruptcy Cases prior to the Effective Date shall be filed with the Bankruptcy Court within
 forty-five (45) days following the Effective Date.

                          (b)     Allowed Professional Fee Claims shall be paid as follows:

                                (i)     On the first business day following the Confirmation Date,
 and as a condition precedent to the Plan going effective, the Professionals will receive from the
 Professional Fee Fund, payment in full of any and all fees payable as of that date pursuant to the
 Court's Administrative Fee Order entered by the Court on November 20, 2018, with the
 exception that to the extent that the Professional Fee Fund is insufficient to pay said amounts in
 full, then in such case professionals shall receive a respective pro-rata distributions of the
 Professional Fee Fund at that time; and

                               (ii)   Thereafter, following Court Approval of the Professionals'
 Final Fee Applications, the Professionals will receive payment of any remaining unpaid portions
 of their Allowed Professional Fee Claims incurred through the Effective Date, without interest,
 in Cash, upon court approval of same, from the Reorganized Debtor.

                                 (iii) With respect to Podium Strategies LLC and McElroy,
 Deutsch, Mulvaney & Carpenter, LLP, the Reorganized Debtor shall also be responsible for any
 amounts due to such professionals for time billed to the Debtor prior to the dates of their
 retention or the effective dates of their retention.

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                3.3    General Administrative Claims (Other Than Professional Fee
 Claims). The Reorganized Debtor is assuming, in the ordinary course of business, and shall pay,
 as and when they become due in the ordinary course of business and pursuant to regular trade
 terms, all General Administrative Claims. No Administrative Claims Bar Date has been set and
 no administrative claimant shall be required to file a claim with the Court in order to be entitled
 to payment on account of same by the Reorganized Debtor.

                3.4      U.S. Trustee Fees. All outstanding U.S. Trustee Fees that have not been
 paid shall be paid no later than the Confirmation Date or when such U.S. Trustee Fees come due
 in the ordinary course.

                3.5    Priority Tax Claims. The Reorganized Debtor shall pay any Allowed
 Priority Tax Claims in accordance with Section 1129(a)(9)(C) of the Bankruptcy Code, in Cash,
 in an aggregate amount of such Allowed Priority Tax Claim payable in regular quarterly
 installments over a period of not more than five (5) years from the Petition Date, or pursuant to
 such other treatment agreed to by the Debtor and the Holder of such Allowed Priority Tax Claim;
 provided, however, that the Holder of an Allowed Priority Tax Claim will not be entitled to
 receive any payment on account of any penalty arising with respect to, or in connection with any
 Priority Tax Claim. Any demand for any such penalty will be deemed disallowed by
 Confirmation of the Plan.

                                ARTICLE IV.
                TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

                4.1    Class 1 (Priority Claims).

                       (a)    Impairment and Voting. Class 1 consists of all Priority Claims
 and is Unimpaired by the Plan and, therefore, is presumed to have accepted the Plan. Therefore,
 the Holders of Claims in Class 1 are not entitled to vote to accept or reject the Plan.

                        (b)   Treatment. Except to the extent that a Holder of an Allowed
 Priority Claim and the Debtor shall have agreed in writing to a different treatment, in full and
 final satisfaction of such Claim, each holder of an Allowed Priority Claim in Class 1 shall
 receive payment in full in Cash, without interest, in an amount equal to such Allowed Priority
 Claim as soon as reasonably practicable after the later of (a) the Effective Date and (b) the date
 when such Priority Claim becomes an Allowed Priority Claim.

                4.2    Class 2 (Other Secured Claims)

                       (a)    Impairment and Voting. Class 2 consists of Allowed Other
 Secured Claims and is Unimpaired by the Plan and, and, therefore, is presumed to have accepted
 the Plan. Therefore, the Holders of Claims in Class 2 are not entitled to vote to accept or reject
 the Plan.

                       (b)    Treatment. Except to the extent that the Holder of the Allowed
 Other Secured Claim agrees to less favorable treatment, in full and final satisfaction, settlement,
 release and discharge of and in exchange for its Allowed Other Secured Claim, the Holder of

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 such Allowed Claim shall receive, at the election of Debtor, (i) payment in full in Cash of the
 unpaid portion of its Allowed Other Secured Claim on the Effective Date or as soon thereafter as
 reasonably practicable (or if payment is not then due, shall be paid in accordance with its terms),
 (ii) Reinstatement of its Claims, (iii) the Debtor's interest in the collateral securing such Allowed
 Other Secured Claim, or (iv) such other recovery necessary to satisfy section 1129 of the
 Bankruptcy Code.

                4.3     Class 3 (North Mill Loan Claim)

                         (a)     Impairment and Voting. Class 3 consists of the Allowed North
 Mill Claim and is Impaired by the Plan. The Holder of the Allowed North Mill Claim is entitled
 to vote to accept or reject the Plan.

                        (b)     Treatment.

                                (i)     Except to the extent that the Holder of the Allowed North
 Mill Secured Claim agrees to less favorable treatment, in full and final satisfaction, settlement,
 release and discharge of and in exchange for its Allowed North Mill Secured Claim, the Holder
 of such Allowed Claim shall receive the following treatment: (i) the notice of default issued by
 North Mill pre-petition and the attendant rates of interest charged against the estate from and
 after the date said default was called (including the default interest rate and the rate of interest
 charged pursuant to the North Mill Final DIP Order), shall be abrogated with interest to be paid,
 calculated and charged from and after that date, only in accordance with the non-default
 contractual rate of interest provided under North Mill's pre-petition loan documents with the
 Debtor, (ii) North Mill shall retain the Liens securing such Claim until paid in full (except to the
 extent that such liens collateralized a claim for default rate of interest), and (iii) North Mill shall
 receive payment in full on the principal amount of the claim (which does not include any
 amounts contributed by Anthony Tomasello as a junior participant in the North Mill Loan) plus
 interest, but only in amounts as modified by this section.

                                (ii)   Except as expressly modified hereby, or in the case, the
 North Mill Loan Agreement shall continue in full force and effect according to its terms, and
 nothing in the Plan or Confirmation Order shall be deemed to bar, enjoin, or otherwise effect
 North Mill's rights against non-debtors relating to the North Mill Loan Agreement, provided
 however that North Mill shall forbear from the enforcement and exercise of any such rights
 unless and until the occurrence of an event of default under the Plan or the North Mill
 Agreements as modified by the Plan. North Mill shall be entitled to all rights and remedies with
 respect to any default resulting from Debtor's breach of any of the terms of, or failure to comply
 with, the Plan or the North Mill Loan Agreement as modified by the Plan.


                               (iii) Upon entry of the Confirmation Order, any and all
 obligations of the Debtor and/or Reorganized Debtor to North Mill with respect to the junior
 participation interest of Anthony Tomasello in the North Mill Loan in the principal amount of
 $160,000 shall be and hereby is released and discharged, and such liability shall no longer exist.
 In turn, any liability of North Mill to Anthony Tomasello in connection with the junior
 participation interest of Anthony Tomasello in the North Mill Loan in the principal amount of

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 $160,000 shall simultaneously be and hereby is released and discharged and such liability shall
 no longer exist.

                               (iv)   On or before December 24, 2018, Anthony Tomasello shall
 pay the sum of $50,000 to North Mill from personal funds, in order to reduce the Debtor's
 indebtedness to North Mill to approximately $300,000, not including fees and interest.

                               (v)     The Effective Date of the Plan shall not occur until the
 North Mill Loan is paid in full.

                              (vi)    The North Mill Loan shall be paid in full by the Debtor
 and/or Anthony Tomasello on or before January 4, 2019. If payment is not made by such time,
 the Debtor shall be deemed in default of the North Mill Loan, and North Mill shall be entitled to
 pursue any and all remedies outlined under the North Mill Loan documents.

                              (vii) Upon full payment of the North Mill Loan, North Mill shall
 provide a general release of the Debtor, the Reorganized Debtor, and the guarantors, and the
 Debtor, Reorganized Debtor, and the guarantors shall provide a general release to North Mill.

                                (viii) To the extent that by virtue of the historical lock box
 arrangement between the Debtor and North Mill, customers/account debtors continue to deliver
 their payments to the North Mill lock box account at Wells Fargo after North Mill has been paid
 in full, the Debtor or the Reorganized Debtor shall be responsible for setting up a new account
 and beginning on the date that North Mill is paid in full, the parties will work together as
 follows: (i) North Mill shall instruct Wells Fargo to refrain from cashing any customer checks or
 from depositing them into the lockbox account and shall instead instruct Wells Fargo to FedEx
 all uncashed customer checks to American Gaming & Electronics, 223 Pratt St, Hammonton, NJ
 08037, with the charges for such FedEx to be charged to recipient, and (ii) with respect to ACH
 transfers, North Mill shall instruct Wells Fargo to move such collected amounts from the North
 Mill lock box account to the Debtor/Reorganized Debtor's new account. The parties will work
 together to accomplish this transition for a period of 30 days, in order to provide the
 Debtor/Reorganized Debtor with sufficient time to advise each of its customers of new payment
 arrangements. All incidental costs of transferring funds over, including bank fees and the like
 shall be the responsibility of the Debtors or Reorganized Debtors. At the conclusion of the 30-
 day period, no further ACH transfers nor payments of any type will be accepted into the North
 Mill lock box account at Wells Fargo. In the event that a customer's ACH transfer shall be
 reversed for any reason or no reason after the date that North Mill has been paid in full and
 released its liens, the Reorganized Debtor shall be responsible to make good on the reversed
 transaction and to cover all bank fees and incidental charges relating to same and the Tomasello
 personal guaranty shall continue in full force and effect to cover all such obligations with respect
 to any such reversed customer transactions.

                4.4     Class 4 (General Unsecured Claims).

                         (a)   Impairment and Voting. Class 4 consists of General Unsecured
 Claims, and is Impaired by the Plan. Holders of the Allowed Class 4 Claims are entitled to vote
 to accept or reject the Plan.


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                        (b)   Treatment. Except to the extent that the Holder of a General
 Unsecured Class 4 Claim agrees to less favorable treatment, Class 4 Allowed Claimants shall
 receive, on the Effective Date, a pro rata distribution of 100% of the amount on deposit in the
 Unsecured Creditor Fund with the numerator calculated as the amount on deposit with the
 Unsecured Creditor Fund and the denominator calculated as the sum of all Allowed Class 4
 Claims. Based on the Confirmation Fund in comparison with the sum of all Allowed Class 4
 Claims (currently based on scheduled amounts), the Debtor anticipates a 6% distribution on
 account of Class 4 claims.

                4.5     Class 5 (Intercompany Claims).

                         (a)     Impairment and Voting. Class 5 is Impaired by the Plan. The
 Holders of Allowed Class 5 Claims are deemed to have rejected the Plan and are not entitled to
 vote to accept or reject the Plan.

                     (b)      Treatment. Pursuant to the Plan, Intercompany Claims shall be
 expunged. In no event shall an Intercompany Claim constitute an Allowed Claim.

                4.6     Class 6 (Subordinated Claims).

                         (a)     Impairment and Voting. Class 6 is Impaired by the Plan. The
 Holders of Allowed Class 6 Claims are deemed to have rejected the Plan and are not entitled to
 vote to accept or reject the Plan.

                     (b)      Treatment. Pursuant to the Plan, Subordinated Claims shall be
 expunged. In no event shall a Subordinated Claim constitute an Allowed Claim.

                4.7     Class 7 (Interests).

                         (a)     Impairment and Voting. Class 7 is Fully Impaired under the Plan
 and, therefore, is presumed to have rejected the Plan. Therefore, the Holders of Claims in Class
 7 are not entitled to vote to accept or reject the Plan.

                        (b)     Treatment. With the exception of Interest holder and
 Subordinated Claim Holder Anthony Tomasello, who will be: (i) waiving and releasing all
 claims with respect to his $1.79 million prepetition note; (ii) waiving and releasing all prepetition
 claims relating to his prepetition junior participation in the North Mill Loan; (iii) waiving and
 releasing all post-petition claims relating to his junior participation in the North Mill Cash
 Collateral and DIP Agreement; and (iv) contributing and funding both the Professional Fee Fund
 and the Unsecured Creditor Fund, upon the Effective Date of the Plan, all interests shall be
 cancelled without any distributions to be made on account of such Interests and Tomasello shall
 become the 100% owner of the Debtor and Reorganized Debtor.

                                   ARTICLE V.
                      MEANS FOR IMPLEMENTATION OF THE PLAN

               5.1    Cancellation of Pre-Petition Documents and Instruments of Debtor.
 On the Effective Date, except as otherwise expressly provided in the Plan, all instruments and
 other documentation or agreements representing or giving rise to Claims against the Debtor shall
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 be deemed canceled and of no further force or effect, without any further action on the part of the
 Bankruptcy Court or any Person. The holders of such canceled instruments and other
 documentation shall have no rights arising from or relating to such instruments, securities, or
 other documentation, but only such rights as are provided under the Plan.

                5.2    Confirmation Order.         The Confirmation Order shall be in a form
 acceptable to North Mill (in its discretion). The Confirmation Order shall grant the Debtor and
 the Reorganized Debtor full authority to enter into and consummate all transactions
 contemplated under the Plan to be effective on and after the Effective Date (which shall be
 memorialized in writing in a form acceptable to North Mill in its sole and absolute discretion)
 and perform all actions and undertakings necessitated thereby and therefor.

                 5.3    Vesting Of Assets In Reorganized Debtor. Except as otherwise
 provided in the Plan or any agreement, instrument, or other document incorporated therein, on
 the Effective Date, all property in each Estate, all Causes of Action, and any property acquired
 by the Debtor pursuant to the Plan shall vest in the Reorganized Debtor, free and clear of all
 Liens, Claims, charges or other encumbrances (except for Liens expressly preserved and
 continued under the Plan). On and after the Effective Date, except as otherwise provided in the
 Plan, the Reorganized Debtor may operate their businesses and may use, acquire or dispose of
 property and compromise or settle any Claims, Interests or Causes of Action without supervision
 or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
 Bankruptcy Rules. Without limiting any of the foregoing, the Reorganized Debtor may pay the
 charges incurred on or after the Effective Date for Professionals' fees, disbursements, expenses,
 or related support services without application to the Bankruptcy Court. This Section shall be
 subject to the terms of the North Mill DIP Agreement and the North Mill Final DIP Order.

                5.4     Cramdown and No Unfair Discrimination. In the event that any
 impaired Class of Claims or Interests rejects the Plan or is deemed to have rejected the Plan, the
 Debtor reserves the right, without any delay in the occurrence of the Confirmation Hearing or
 Effective Date, to (a) request that the Bankruptcy Court confirm the Plan in accordance with
 Section 1129(b) of the Bankruptcy Code with respect to such non-accepting Class, in which case
 the Plan shall constitute a motion for such relief, and/or (b) amend the Plan in accordance with
 the Bankruptcy Code and Bankruptcy Rules.

                5.5   Sources Of Cash For Distribution. The Confirmation Fund shall be the
 source of Cash for the initial payments required to be made by the Disbursing Agent on the
 Effective Date

                  5.6    Section 1145 Exemption. To the maximum extent allowable under
 Section 1145 of the Bankruptcy Code, the issuance and allocation of the Interests in the
 Reorganized Debtor pursuant to the Plan shall be exempt from registration under any federal,
 state or local law requiring registration for offer or sale of a security.

                  5.7    Effectuating Documents; Further Transactions. The Debtor and the
 Reorganized Debtor, and their respective officers and designees, is authorized to execute,
 deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or
 documents, and take such actions as may be necessary or appropriate to effectuate and further
 evidence the terms and conditions of the Plan, or to otherwise comply with applicable law.
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                5.8     Employee Obligations. Except as otherwise provided in the Plan, the
 Reorganized Debtor shall honor the Debtor's written contracts, agreements, policies, programs
 and plans for, among other things, compensation, reimbursement, indemnity, health care
 benefits, disability benefits, deferred compensation benefits, travel benefits, vacation and sick
 leave benefits, savings, severance benefits, retirement benefits, welfare benefits, relocation
 programs, life insurance and accidental death and dismemberment insurance, including written
 contracts, agreements, policies, programs and plans for bonuses and other incentives or
 compensation for the directors, officers and employees of the Debtor who served in such
 capacity at any time. To the extent that the above-listed contracts, agreements, policies,
 programs and plans are executory contracts, pursuant to Sections 365 and 1123 of the
 Bankruptcy Code, each of them will be deemed assumed as of the Effective Date and assigned to
 the Reorganized Debtor.

                5.9     Directors and Officers of the Reorganized Debtor. As of the Effective
 Date, the term of the current members of the board of directors of the applicable Debtor shall
 expire, and the initial boards of directors and the officers of the Reorganized Debtor shall be
 appointed. Pursuant to Section 1129(a)(5) of the Bankruptcy Code, the Debtor hereby discloses
 as is disclosed in the Disclosure Statement that Anthony Tomasello shall serve as the
 Reorganized Debtor's sole director and shall serve as the President and Chief Executive Officer
 of the Reorganized Debtor. The Debtor will disclose prior to confirmation, the nature of any
 compensation to be paid to Tomasello as well as to any other Director or Officer who is slated to
 receive remuneration of any sort from the Reorganized Debtor. Each such director and officer
 shall serve from and after the Effective Date pursuant to the terms of the organizational
 documents of the Reorganized Debtor.

                 5.10 Utility Deposits. On the Effective Date, all adequate assurance deposits
 made by the Debtor pursuant to the Interim Order dated October, 2018 (i) Prohibiting Utility
 Companies From Discontinuing, Altering Or Refusing Service On Account Of Prepetition
 Invoices, (ii) Deeming Utility Companies To Have Adequate Assurance Of Future Payment, And
 (iii) Establishing Procedures For Resolving Requests For Additional Assurance Pursuant To 11
 U.S.C. §§ 105(a) and 366 [Docket No. 27], and any subsequent Final Order regarding same,
 shall be returned to the Debtor, and Debtor shall have no further obligation to maintain security
 deposits for utility providers beyond the terms of any written agreements with such providers.

              5.11 Charter. The Debtor's charter shall be amended to reflect the Debtor's
 name change to "American Gaming & Electronics, Inc."


                                ARTICLE VI.
               PROVISIONS GOVERNING DISTRIBUTIONS GENERALLY

                6.1     Disbursing Agent.

                        (a)      Porzio, Bromberg & Newman shall be the Disbursing Agent and
 shall be responsible for all distributions required under the Plan, including (A) distributions from
 the Unsecured Creditor Fund under Section 4.4 of the Plan, and (B) distributions from the
 Professional Fee Fund under Section 3.2 of the Plan. Notwithstanding the foregoing, Porzio,
 Bromberg & Newman shall have no obligation to make distributions from the Confirmation
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 Fund on account of Priority Claims or Administrative Claims, both of which shall be the
 responsibility of the Reorganized Debtor.

                        (b)     The Confirmation Fund shall be funded on or before the
 Confirmation Date.

                6.2   Manner Of Payment. Any payment of Cash under the Plan may be made
 either by check drawn or by wire transfer from a domestic bank, at the option of the Disbursing
 Agent.

                6.3    Payments And Distributions On Disputed Claims. As and when
 authorized by a Final Order, Disputed Claims that become Allowed Claims shall be paid from
 the Disputed Claim Reserve. No distribution shall be made on a Claim where only a portion of
 such Claim is disputed until such dispute is resolved by settlement or Final Order.

                6.4     Disputed Claim Reserve. To the extent that a disbursing agent makes a
 distribution hereunder to a Class prior to the resolution of all Disputed Claims of such Class, the
 respective disbursing agent shall reserve an amount for any Disputed Claims in such Class equal
 to the amount that such Holders of Disputed Claims in such Class would be entitled to receive
 under the Plan if such Disputed Claims were Allowed in the asserted amount of the Claim.

                 6.5    Transmittal Of Distributions To Parties Entitled Thereto. All
 distributions by check shall be deemed made at the time such check is deposited in the United
 States mail, postage prepaid. Any distributions by wire transfer shall be deemed made as of the
 date of the wire transfer is made. Except as otherwise agreed with the Holder of an Allowed
 Claim in respect thereof or provided in the Plan, any distribution required under the Plan on
 account of an Allowed Claim, shall be mailed to (i) the latest mailing address filed for the Holder
 of an Allowed Claim entitled to a distribution, (ii) the latest mailing address filed for a Holder of
 a filed power of attorney designated by the Holder of such Claim to receive distributions, (iii) the
 latest mailing address filed for the Holder's transferee as identified in a filed notice served on the
 Debtor pursuant to Bankruptcy Rule 3001(e), or (iv) if no such mailing address has been filed,
 the mailing address reflected on the Schedules or in the Debtor's books and records. The Holder
 of a Claim shall be required to promptly notify the Reorganized Debtor and the Bankruptcy
 Court of any change in its mailing address.

                6.6      Distribution Of Unclaimed Property. Except as otherwise provided in
 the Plan, any distribution under the Plan which is unclaimed after three (3) months following any
 Distribution Date shall be forfeited, and such distribution, together with any interest earned
 thereon, and shall return to and revest in the Reorganized Debtor.

                6.7     Saturday, Sunday Or Legal Holiday. If any payment or act under the
 Plan is required to be made or performed on a date that is not a Business Day, then the making of
 such payment or the performance of such act may be completed on the following Business Day,
 but shall be deemed to have been completed as of the required date.

              6.8    Setoffs And Recoupment. Subject to the terms of the Plan and pursuant
 to Section 553 of the Bankruptcy Code or applicable non-bankruptcy law, the Debtor or
 Reorganized Debtor, as appropriate, may but shall not be required to, setoff against or recoup

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 from any Claim on which payments are to be made pursuant to the Plan, any Claims of any
 nature whatsoever the Debtor may have against the Holder of such Claim.

                 6.9    Withholding Or Other Taxes. The Reorganized Debtor shall be entitled,
 but are not directed, to deduct any federal, state, or local withholding or other taxes from any
 distributions under the Plan. As a condition to making any distribution under the Plan, all
 Holders of Allowed Claims shall provide the Reorganized Debtor with such Holder's taxpayer
 identification number and such other information or certification as the Reorganized Debtor may
 deem reasonably necessary to comply with applicable tax reporting and/or withholding laws or
 regulations. The Reorganized Debtor shall issue any and all required forms to all Holders of
 Allowed Claims to either (i) their last known address per the records obtained by the
 Reorganized Debtor or (ii) forwarding addressed provide by the United States Postal Service or
 by creditors themselves. If a Creditor fails to provide the Reorganized Debtor with the
 information necessary to comply with any reporting and withholding requirements of any
 governmental unit within forty-five (45) days from the date of the request, the Creditor shall be
 deemed to have forfeited their right to a distribution under the Plan without further Order of the
 Bankruptcy Court.

                 6.10 Fractional Cents And De Minimis Distributions. Notwithstanding any
 other provisions of the Plan to the contrary, no payment of fractional cents will be made under
 the Plan. Cash will be issued to Holders entitled to receive a distribution of Cash in whole cents
 (rounded to the nearest whole cent when and as necessary). Any distribution of less than $50.00
 will be considered de minimis, and Holders of Allowed Claims that are entitled to an interim or
 final distribution of less than $50.00 will not receive any distribution. Such funds will remain
 with and revest in the Reorganized Debtor.

                6.11   Allowance And Disallowance Of Claims.

                        (a)    Allowance Of Claims. Except as expressly provided in the Plan,
 no Claims shall be deemed Allowed by virtue of the Plan or the Confirmation Order unless and
 until such Claim is deemed Allowed under the Bankruptcy Code, or the Bankruptcy Court enters
 a Final Order in the Bankruptcy Cases allowing such Claim. Notwithstanding the foregoing, any
 Claim included in the Debtor's Schedules that is not listed as contingent, unliquidated, and/or
 disputed shall be an Allowed Claim. Any Proof of Claim Filed in an unliquidated amount shall
 be deemed Allowed in the amount listed in the Debtor's Schedules as liquidated, not contingent
 and not disputed. The Allowance and disallowance of Claims shall be in all respects subject to
 the provisions of Section 502 of the Bankruptcy Code.

                        (b)    Disallowance Of Claims. All Claims held by Persons against
 whom the Debtor or Reorganized Debtor, as appropriate, have filed or commenced or may in the
 future file or commence a Claim or Cause of Action under Sections 522(f), 522(h), 542, 543,
 544, 547, 548, 549, 550, 551, 553 or 724(a) of the Bankruptcy Code shall be deemed disallowed
 pursuant to Section 502(d) of the Bankruptcy Code. The Holders of any and all Claims Filed
 with the Bankruptcy Court after the relevant bar date shall be deemed disallowed without further
 action by the Debtor or Reorganized Debtor and without any further notice to or action, order, or
 approval of the Bankruptcy Court. The Holders of any and all Claims Filed with the Bankruptcy
 Court after the relevant bar date shall not be entitled to a distribution, unless otherwise allowed
 by Final Order of the Bankruptcy Court.
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                6.12   Resolution Of Disputed Administrative Claims And Disputed Claims.

                        (a)    Prosecution Of Objections To Claims. Prior to the Effective
 Date, the Debtor shall have standing and the right to commence and pursue objections to Claims,
 and the Reorganized Debtor shall have such standing after the Effective Date. All objections to
 Claims shall be Filed with the Bankruptcy Court by the Claim Objection Deadline and served
 upon the Holders of each of the Claims to which objections are made. The Debtor or
 Reorganized Debtor shall have the right, after notice and a hearing, to seek an extension of the
 Claim Objection Deadline and such an extension shall not be deemed a material modification of
 the Plan.

                       (b)     Objections To Claims. An objection to the allowance of a Claim
 shall be in writing and shall be Filed with the Bankruptcy Court by the Debtor or Reorganized
 Debtor. Except as expressly set forth herein, nothing herein, in the Confirmation Order or in any
 Order in aid of Confirmation, shall constitute, or be deemed to constitute, a waiver or release of
 any Claim, Cause of Action, Avoidance Action, right of setoff or recoupment or other legal or
 equitable defense which the Debtor had immediately prior to the commencement of the
 Bankruptcy Cases against or with respect to any Claim. Except as set forth herein, upon
 Confirmation, the Debtor and Reorganized Debtor shall have, retain, reserve and be entitled to
 assert all such Claims, Causes of Action, rights of setoff and recoupment and other legal or
 equitable defenses that the Debtor had immediately prior to the commencement of the
 Bankruptcy Cases against or with respect to any Claim.

                6.13 Controversy Concerning Impairment. If a controversy arises as to
 whether any Claims or any Class of Claims or Interests are Impaired under the Plan, the
 Bankruptcy Court, after notice and a hearing, shall determine such controversy before approving
 the Disclosure Statement.

                           ARTICLE VII.
       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                 7.1    Assumption and Rejection Of Executory Contracts/Unexpired Leases;
 Cure Amount. On the Confirmation Date, each Executory Contract/Unexpired Lease set forth
 on Schedule 1 hereto shall be deemed assumed pursuant to Section 365 of the Bankruptcy Code,
 effective as of the Confirmation Date. The cure amounts, if any, due to the non-Debtor parties to
 Executory Contracts/Unexpired Leases to be assumed are also set forth on Schedule 1. All cure
 amounts shall be paid by the Reorganized Debtor within the later of thirty (30) days after (i) the
 Effective Date and (ii) the date the Bankruptcy Court enters a Final Order determining the cure
 amount with respect to any Executory Contract/Unexpired Lease the counterparty to which
 objects to the cure amount set forth on Schedule 1 hereto, or (iii) at such later date as may be
 agreed to by the holder of the claim for cure.

                        (a)    Objections, if any, to any cure amount set forth on Schedule 1
 shall be Filed and served on the Debtor in accordance with Section 11.5 hereof, on or before the
 Objection Deadline. The Bankruptcy Court shall adjudicate any such objections at the
 Confirmation Hearing. The Confirmation Order or other Final Order determining the cure
 amount with respect to any Executory Contract/Unexpired Lease shall govern the amount of the
 Debtor's obligations under such Executory Contract/Unexpired Lease for all purposes and for all
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 time periods up to and including the effective date of the assumption of such Executory
 Contract/Unexpired Lease, and any counterparty to an Executory Contract/Unexpired Lease shall
 be forever barred and enjoined from seeking or claiming any other or further amounts from the
 Debtor or Reorganized Debtor under such Executory Contract/Unexpired Lease.

                        (b)   This Section 7.1 shall not affect any Executory Contract/Unexpired
 Lease (i) previously assumed or rejected by an Order of the Bankruptcy Court pursuant to
 Section 365 of the Bankruptcy Code, or (ii) that is, as of the date of the Confirmation Hearing,
 the subject of a pending motion by the Debtor to assume or reject pursuant to Section 365 of the
 Bankruptcy Code.

                       (c)     Any Executory Contract/Unexpired Lease not assumed shall be
 deemed rejected effective as of the Confirmation Date.

                         (d)     The Confirmation Order shall constitute an Order of the
 Bankruptcy Court, pursuant to Section 365 of the Bankruptcy Code, approving the assumption or
 rejection as the case may be, of each Executory Contract/Unexpired Lease as addressed in this
 section 7.1, effective as of the Confirmation Date.

                      (e)     All of the Debtor's insurance policies and any agreements,
 documents, or instruments relating thereto, are treated as and deemed to be Executory Contracts.
 On the Effective Date, the Debtor shall be deemed to have assumed all insurance policies and
 any agreements, documents, and instruments related thereto.

                          (f)    Notwithstanding anything herein to the contrary, as of the
 Effective Date, the Debtor shall assume (and assign to the Reorganized Debtor if necessary to
 continue any D&O liability insurance policies in full force) any and all of the D&O liability
 insurance policies of the Debtor that remain in force as of the Effective Date pursuant to section
 365(a) of the Bankruptcy Code. Entry of the Confirmation Order shall constitute the Bankruptcy
 Court’s approval of the Debtor's assumption of any such D&O liability insurance policies.
 Notwithstanding anything to the contrary contained herein, Confirmation of the Plan shall not
 discharge, impair or otherwise modify any obligations assumed in connection with any D&O
 liability insurance policies in force as of the Effective Date, and each such obligation shall be
 deemed and treated as an Executory Contract that has been assumed by the Debtor under the
 Plan as to which no Proof of Claim need be Filed. On or before the Effective Date, the
 Reorganized Debtor may, in its sole discretion, obtain reasonably sufficient tail coverage (i.e.,
 D&O insurance coverage that extends beyond the end of the policy period) under a directors and
 officers’ liability insurance policy for the current and former directors, officers, and managers for
 such terms or periods of time, and placed with such insurers, to be reasonable under the
 circumstances and ordered by the Bankruptcy Court in the Confirmation Order and to the extent
 such tail coverage is obtained on or before the Effective Date, such policies shall be considered
 D&O liability insurance policies and shall be assumed by the Reorganized Debtor.

              7.2    The Debtor may modify, revise or amend Schedule 1 by adding or
 removing any Executory Contract/Unexpired Lease from such schedule at any time prior to the
 Objection Deadline. The counterparty to any Executory Contract/Unexpired Lease added to
 Schedule 1 by such date shall have until the Confirmation Hearing to File and serve any

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 objections to the proposed cure amount or to the assumption of such Executory
 Contract/Unexpired Lease. If any such objection is timely Filed and is not resolved by the
 consent of the Debtor and the counterparty within ten (10) days of the Confirmation Hearing, the
 Debtor shall request that the Bankruptcy Court schedule a hearing to consider and adjudicate the
 objection. The cure amount shall be paid in accordance with Section 7.1 hereof.

                 7.3     Bar To Rejection Damages. Except to the extent that another bar date
 (or last date by which a Creditor must file a Proof of Claim) applies pursuant to the Bankruptcy
 Rules or a separate Order of the Bankruptcy Court, all Proofs of Claim with respect to Claims
 arising from the rejection of Executory Contracts/Unexpired Leases pursuant to Sections 7.1(c)
 and 7.1(d) of the Plan must be filed with the Clerk of the Bankruptcy Court, 401 Market Street,
 Camden, New Jersey 08101, and a copy served on counsel for the Debtor, within thirty (30)
 days from the entry of the Confirmation Order, or such Claim shall be forever barred and shall
 not be entitled to a distribution or enforceable against the Debtor and its successors, assigns or its
 assets. Claims arising from the rejection of Executory Contracts/Unexpired Leases shall be
 treated under the Plan as a General Unsecured Claim under Class 4.

                                       ARTICLE VIII.
                                   CONDITIONS PRECEDENT

                 8.1    Conditions Precedent to Confirmation of the Plan. The following are
 conditions precedent to Confirmation that must be satisfied, or waived in accordance with
 Section 8.3 of the Plan:

                      (a)      The Plan and Disclosure Statement and all of the schedules,
 documents and exhibits thereto shall have been Filed in a form and substance acceptable to the
 Debtor and North Mill in their sole discretion;

                       (b)     The Confirmation Order shall approve in all respects the
 provisions, terms and conditions of the Plan and shall be in a form and substance acceptable to
 the Debtor and North Mill in their sole discretion;.

                8.2    Conditions Precedent to Effective Date. The following are conditions
 precedent to the Effective Date that must be satisfied, or waived in accordance with Section 7.3
 hereof:

                        (a)    all actions, documents and agreements necessary to implement the
 Plan and the transactions contemplated by the Plan shall have been effected or executed;

                        (b)     the Confirmation Fund shall be fully funded and the Disbursing
 Agent shall have full authority to administer such funds;

                        (c)     the notice of Confirmation Hearing shall comply with Bankruptcy
 Rule 2002(c)(3);

                        (d)     The Confirmation Date shall have occurred, and

                     (e)      The Debtor and North Mill shall have entered into any new Exit
 Financing Agreement, to the extent requested by North Mill.
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                8.3    Waiver Of Conditions Precedent. The Debtor and/or North Mill, as the
 case may be, may waive any of the conditions precedent to Confirmation at any time, without
 notice and without further action, order, or approval of the Bankruptcy Court.

                8.4     Effect Of Non-Occurrence Of Conditions To The Effective Date. Each
 of the conditions to the Effective Date must be satisfied or waived by the Debtor or North Mill,
 as the case may be, and the Effective Date must occur within sixty (60) days of Confirmation, or
 by such later date established by Final Order. If the Effective Date has not occurred within one
 sixty (60) days of Confirmation, then upon motion by a party in interest (including the Debtor)
 made before the Effective Date and a hearing, the Confirmation Order may be vacated by the
 Bankruptcy Court; provided, however, that notwithstanding the filing of such motion to vacate,
 the Confirmation Order may not be vacated if the Effective Date occurs before the Bankruptcy
 Court enters a Final Order granting such motion. If the Confirmation Order is vacated, then
 except as provided in any Final Order vacating the Confirmation Order, the Plan will be null and
 void in all respects, and nothing contained in the Plan or Disclosure Statement shall: (1)
 constitute a waiver or release of any Claims, Interests, or Causes of Action; (2) prejudice in any
 manner the rights of the Debtor or any other Person; or (3) constitute an admission,
 acknowledgment, offer, or undertaking of any sort by the Debtor or any other Person.

                                      ARTICLE IX.
                                EFFECTS OF CONFIRMATION

                9.1     Authority to Effectuate Plan. Upon the Effective Date, all matters
 provided under the Plan shall be deemed to be authorized and approved without the requirement
 of further approval from the Bankruptcy Court or the Debtor. The Debtor and/or Reorganized
 Debtor shall be authorized, without further application to or order of the Bankruptcy Court, to
 take whatever action necessary to achieve consummation and carry out the Plan and to effectuate
 the transactions provided for thereunder.

                 9.2    Binding Effect. Except as otherwise expressly provided in the Plan, on
 and after the Effective Date, the Plan shall bind all Holders of Claims and Interests. Subject to
 the terms of the Plan, upon the Effective Date, every Holder of a Claim or Interest shall be
 precluded and permanently enjoined from asserting against the Debtor and/or Reorganized
 Debtor any Claim based on any document, instrument, judgment, award, order, act, omission,
 transaction or other activity of any kind or nature that occurred before the Petition Date.


                9.3    Discharge Of The Debtor.

                        (a)    Upon the Effective Date, the Debtor shall be deemed discharged
 under Section 1141(d)(1)(A) of the Bankruptcy Code from any and all Claims, including, but not
 limited to, demands and liabilities that arose before the Effective Date, and all debts of the kind
 specified in Section 502 of the Bankruptcy Code, whether or not (i) a proof of claim based upon
 such debt is filed or deemed filed under Section 501 of the Bankruptcy Code, (ii) a Claim based
 upon such debt is Allowed under Section 502 of the Bankruptcy Code, (iii) a Claim based upon
 such debt is or has been disallowed by order of the Bankruptcy Court, or (iv) the Holder of a
 Claim based upon such debt accepted the Plan.

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                         (b)     As of the Effective Date, except as provided in the Plan or the
 Confirmation Order, all Persons shall be precluded from asserting against the Debtor, the
 Reorganized Debtor, or Anthony Tomasello, any other or further Claims, debts, rights, Causes of
 Action, claims for relief, liabilities, or equity interests relating to the Debtor based upon any act,
 omission, transaction, occurrence, or other activity of any nature that occurred prior to the
 Effective Date, except (the exception applying to Anthony Tomasello only) for any claims
 sounding in willful misconduct, actual fraud, gross negligence or personal injury. In accordance
 with the foregoing, except as provided in the Plan or the Confirmation Order, the Confirmation
 Order shall be a judicial determination of discharge of all such Claims and other debts and
 liabilities against the Debtor, pursuant to Sections 524 and 1141 of the Bankruptcy Code, and
 such discharge shall void any judgment obtained against the Debtor and/or Reorganized Debtor
 at any time, to the extent that such judgment relates to a discharged Claim.

                         (c)     The Reorganized Debtor will indemnify and hold harmless former
 Officers and Directors John R. Rauen, Sam A. Basile, Robert M. Pickus and Francis X.
 McCarthy against any Claims, debts, rights, Causes of Action, claims for relief, liabilities, or
 equity interests relating to the Debtor based upon any act, omission, transaction, occurrence, or
 other activity of any nature that occurred prior to the Effective Date, except for claims based
 upon an adjudication of willful misconduct, actual fraud, or gross negligence.

                  9.4     Injunction. Except as provided in the Plan or the Confirmation Order, as
 of the Effective Date, all Persons that have held, currently hold, may hold, or allege that they
 hold, a Claim, obligation, suit, judgment, damage, demand, debt, right, Cause of Action, or
 liability that is released or discharged under the Plan are permanently enjoined from taking any
 of the following actions against the Debtor, the Reorganized Debtor, or Anthony Tomasello or
 their property on account of any such released or discharged Claim, obligation, suit, judgment,
 damage, demand, debt, right, Cause of Action, or liability: (a) commencing or continuing, in any
 manner or in any place, any action or other proceeding; (b) enforcing, attaching, collecting, or
 recovering in any manner any judgment, award, decree, or order; (c) creating, perfecting, or
 enforcing any Lien or encumbrance; (d) asserting a setoff, right of subrogation, or recoupment of
 any kind against any debt, liability, or obligation due to any released Person; or (e) commencing
 or continuing any action, in each such case in any manner, in any place, or against any Person
 that does not comply with or is inconsistent with the provisions of the Plan or the Confirmation
 Order.

                 9.5    Cancellation and Revesting of Ownership Interests in the Debtor.
 Effective on the Effective Date, any and all stock interests or other equity interests in the Debtor
 existing prior to the Confirmation Date, shall be cancelled, discharged and released, and all
 ownership interests in the Reorganized Debtor shall be immediately and fully vested, without
 further documentation or order of this Court, in the Plan Sponsor, Anthony Tomasello, who
 shall serve as sole Director, sole shareholder as well as President and Chief Executive Officer of
 the Reorganized Debtor.

            9.6 Exculpation. AS OF THE EFFECTIVE DATE, TO THE FULLEST
 EXTENT PERMITTED BY APPLICABLE LAW, NONE OF THE RELEASEES SHALL
 HAVE OR INCUR LIABILITY FOR, AND ARE HEREBY RELEASED FROM ANY
 OBLIGATION OR CLAIM TO ONE ANOTHER, TO ANY HOLDER OF A CLAIM OR
 INTEREST, OR ANY OTHER PARTY IN INTEREST OR PERSON, FOR ANY ACT OR
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 OMISSION THAT OCCURRED ON OR BETWEEN THE PETITION DATE AND THE
 EFFECTIVE DATE IN CONNECTION WITH, RELATING TO, OR ARISING OUT OF
 THE BANKRUPTCY CASES, THE ADMINISTRATION OF THE DEBTOR'S ESTATE,
 THE FORMATION, NEGOTIATION AND/OR PURSUIT OF CONFIRMATION OF
 THE PLAN, ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT
 OR DOCUMENT CREATED IN CONNECTION WITH THE PLAN, OR THE
 CONSUMMATION OF THE PLAN, EXCEPT FOR GROSS NEGLIGENCE, WILLFUL
 MISCONDUCT, OR FRAUD, AND EACH RELEASEE SHALL IN ALL RESPECTS BE
 ENTITLED TO REASONABLY RELY UPON THE ADVICE OF COUNSEL WITH
 RESPECT TO THEIR DUTIES AND RESPONSIBILITIES (IF ANY) UNDER THE
 PLAN; PROVIDED, HOWEVER, THAT, NOTWITHSTANDING ANYTHING TO THE
 CONTRARY IN THE FOREGOING, THE RELEASE SET FORTH ABOVE DOES NOT
 RELEASE ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PERSON UNDER
 THE PLAN OR ANY DOCUMENT, INSTRUMENT OR AGREEMENT EXECUTED TO
 IMPLEMENT THE PLAN, AND THE FOREGOING RELEASE DOES NOT RELEASE
 THE PERSONAL LIABILITY OF ANY OF THE RELEASEES FOR ANY STATUTORY
 VIOLATION OF APPLICABLE TAX LAWS OR BAR ANY RIGHT OF ACTION
 ASSERTED BY A GOVERNMENTAL TAXING AUTHORITY AGAINST THE
 AFOREMENTIONED RELEASED PARTIES FOR ANY STATUTORY VIOLATION OF
 APPLICABLE TAX LAWS. EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED
 IN THE PLAN, UPON THE EFFECTIVE DATE, THE RELEASEES ARE EACH
 GRANTED THE PROTECTIONS AND BENEFITS OF SECTION 1125(E) OF THE
 BANKRUPTCY CODE. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN
 THIS SECTION, THE PLAN OR THE CONFIRMATION ORDER, THE
 OBLIGATIONS OF THE GUARANTORS OF THE NORTH MILL LOAN, THE NORTH
 MILL CLAIM, AND THE NORTH MILL FINAL DIP ORDER SHALL NOT BENEFIT
 IN ANY WAY FROM ANY MODIFICATIONS TO THESE OBLIGATIONS AS ARE
 EFFECTUATED PURSUANT TO THE PLAN, BUT RATHER SHALL REMAIN FULLY
 LIABLE TO NORTH MILL FOR THE ORIGINAL AMOUNTS, TERMS AND RATES
 OF INTEREST (INCLUDING DEFAULT INTEREST) AS IS SET FORTH IN THE
 NORTH MILL PREPETITION LOAN DOCUMENTS AS WELL AS IN THE NORTH
 MILL FINAL DIP ORDER.

 NOTWITHSTANDING ANY LANGUAGE TO THE CONTRARY CONTAINED IN THE
 PLAN AND/OR PLAN CONFIRMATION ORDER, NO PROVISION OF THE PLAN OR
 PLAN CONFIRMATION ORDER SHALL (I) PRECLUDE THE UNITED STATES
 SECURITIES AND EXCHANGE COMMISSION ("SEC") FROM ENFORCING ITS
 POLICE OR REGULATORY POWERS; OR (II) ENJOIN, LIMIT, IMPAIR OR DELAY
 THE SEC FROM COMMENCING OR CONTINUING ANY CLAIMS, CAUSES OF
 ACTION, PROCEEDINGS OR INVESTIGATIONS AGAINST ANY NON-DEBTOR
 PERSON OR NON-DEBTOR ENTITY IN ANY FORUM.




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                                      ARTICLE X.
                               RETENTION OF JURISDICTION

                 10.1 Retention of Jurisdiction. Under Bankruptcy Code Sections 105(a) and
 1142, and notwithstanding entry of the Confirmation Order and occurrence of the Effective Date,
 the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, and
 related to, the Bankruptcy Cases and the Plan to the fullest extent permitted by law, including,
 among other things, jurisdiction to:

                        (a)    allow, disallow, determine, liquidate, classify, estimate or establish
 the priority or secured or unsecured status of any Claim, including the resolution of any
 application or request for payment of any Administrative Claim, and the resolution of any
 objections to the allowance or priority of Claims;

                      (b)   hear and determine all Professionals' applications for compensation
 and reimbursement of expenses incurred in the Bankruptcy Cases;

                       (c)    determine any and all adversary proceedings, motions,
 applications, and contested or litigated matters and consider and act upon the compromise and
 settlement of any Claim against the Estates;

                       (d)   enter such orders as may be necessary or appropriate to execute,
 implement, or consummate the provisions of the Plan and all contracts, instruments, releases, and
 other agreements or documents created in connection therewith;

                       (e)    hear and determine disputes arising in connection with the
 interpretation, implementation, consummation, or enforcement of the Plan, including disputes
 arising under agreements, documents or instruments executed in connection therewith;

                        (f)    consider any modifications of the Plan, cure any defect or
 omission, or reconcile any inconsistency in any order of the Bankruptcy Court, including,
 without limitation, the Confirmation Order;

                       (g)    issue injunctions, enter and implement other orders, or take such
 other actions as may be necessary or appropriate to restrain interference by any Person with the
 implementation, consummation, or enforcement of the Plan or the Confirmation Order;

                       (h)     hear and determine any matters arising in connection with or
 relating to the Plan, the Disclosure Statement, the Confirmation Order, or any contract,
 instrument, release, or other agreement or document created in connection with the Plan, the
 Disclosure Statement, the Confirmation Order;

                       (i)     enforce all orders, judgments, injunctions, releases, exculpations,
 indemnifications and rulings entered in connection with the Bankruptcy Cases;

                       (j)     hear and determine matters concerning state, local, and federal
 taxes in accordance with Sections 346, 505 and 1146 of the Bankruptcy Code;

                        (k)    hear and determine all matters related to the property of the Estate
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 or the Debtor from and after the Effective Date;

                        (l)   hear and determine all claims, disputes or actions by the Plan
 Administrator to collect amounts owed by the Reorganized Debtor to the Plan Administrator for
 distribution under the Plan;

                      (m)    hear and determine such other matters as may be provided in the
 Confirmation Order and as may be authorized under the provisions of the Bankruptcy Code; and

                        (n)     enter a Final Decree closing the Bankruptcy Case.

               10.2 In the event North Mill and the Reorganized Debtor enter into a new
 financing agreement to be effective on and after the Effective Date (which agreement shall be
 memorialized in writing in a form acceptable to North Mill in its sole and absolute discretion),
 the Bankruptcy Court shall not retain or have jurisdiction over any such new agreement).

                                       ARTICLE XI.
                                MISCELLANEOUS PROVISIONS

                11.1 Reports. Until a Final Decree is entered, the Debtor shall submit all post-
 Confirmation quarterly reports to the U.S. Trustee as required by the U.S. Trustee guidelines
 (with a copy served on the Office of the U.S. Trustee) setting forth all receipts and disbursements
 of the Debtor. The first report shall be filed within thirty (30) days after the end of the quarter in
 which the Effective Date occurs. The Debtor shall be responsible to request that a Final Decree
 be entered in this Bankruptcy Case. The Debtor shall also be responsible for any quarterly fees
 due to the U.S. Trustee from and after the Effective Date until the Bankruptcy Case is closed.

                11.2 Severability of Plan Provisions. If, prior to Confirmation, any term or
 provision of the Plan is held by the Bankruptcy Court to be invalid, void or unenforceable, the
 Bankruptcy Court, on its own motion or at the request of the Debtor or Reorganized Debtor, shall
 have the power to alter and interpret such term or provision to make it valid or enforceable to the
 maximum extent practicable, consistent with the original purpose of the term or provision held to
 be invalid, void or unenforceable, and such term or provision shall then be applicable as altered
 or interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of
 the terms and provisions of the Plan shall remain in full force and effect and shall in no way be
 affected, impaired or invalidated by such holding, alteration or interpretation. The Confirmation
 Order shall constitute a judicial determination and shall provide that each term and provision of
 the Plan, as it may be altered or interpreted in accordance with the foregoing, is valid and
 enforceable pursuant to its terms.

                11.3 Allocation of Plan Distributions between Principal and Interest. To
 the extent that any Allowed Claim entitled to a distribution under the Plan is comprised of
 indebtedness and accrued but unpaid interest thereon, such distribution shall, for federal income
 tax purposes, be allocated to the principal amount of the Claim first, and then, to the extent the
 consideration exceeds the principal amount of the Claim, to accrued but unpaid interest.

                 11.4 No Interest. Except as expressly stated in the Plan, no interest, penalty or
 late charge is allowed or shall be paid on any Claim.

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                 11.5 Notices. All notices, requests or demands for payments provided for in
 the Plan shall be in writing and shall be deemed to have been given when personally delivered by
 hand or deposited in any general or branch post office of the United States Postal Service.
 Notices, requests and demands for payments shall be addressed and sent postage pre-paid or
 delivered to the following:



 To the Debtor and/or Reorganized Debtor:         Porzio Bromberg & Newman PC
                                                  100 Southgate Parkway
                                                  Morristown, NJ 07962
                                                  Attention: Warren J. Martin Jr., Esq.

                                                  -and-

                                                  American Gaming & Electronics, Inc.
                                                  223 Pratt Street
                                                  Hammonton, NJ 08037
                                                  Attention: Anthony Tomasello, CEO

 To the Disbursing Agent:                         Porzio Bromberg & Newman PC
                                                  100 Southgate Parkway
                                                  Morristown, NJ 07962
                                                  Attention: Warren J. Martin Jr., Esq.


 To the U.S. Trustee:                             United States Trustee - Region 3
                                                  One Newark Center, Suite 2100
                                                  Newark, NJ 07102
                                                  Attention: Jeffrey M. Sponder, Esq.


 To North Mill:                                   Sherman, Silverstein, Kohl, Rose &
                                                  Podolsky, P.A.
                                                  308 Harper Drive, Suite 200
                                                  Moorestown, NJ 08057
                                                  Attention: Arthur Abramowitz, Esq.


                11.6 Plan Controls Disclosure Statement. Notwithstanding anything to the
 contrary contained herein or in the Disclosure Statement, in the event and to the extent that any
 provision of the Plan is inconsistent with any provision of the Disclosure Statement, the
 provisions of the Plan shall control and take precedence.

                11.7 Filing of Additional Documents. Prior to the Effective Date, the Debtor
 may File with the Bankruptcy Court such agreements or other documents as may be necessary or
 appropriate to effectuate and further evidence the terms and conditions of the Plan that are not

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 inconsistent with the terms of the Plan. On or after the Effective Date, the Debtor and/or the
 Reorganized Debtor may file with the Bankruptcy Court such agreements or other documents as
 may be necessary or appropriate to effectuate the terms and conditions of the Plan.

                 11.8 Reservation of Rights. If the Plan is not confirmed by the Bankruptcy
 Court or any other Court of competent jurisdiction for any reason, the rights of the Debtor and all
 parties in interest in the Bankruptcy Cases shall and will be reserved in full. Statements and
 provisions made in the Plan or in the Disclosure Statement are made only for the purpose(s) of
 the Plan. If the Plan is withdrawn, the Confirmation Order is not entered, or if the Effective Date
 does not occur, no Person shall be bound by or deemed prejudiced by any such statement or
 provision.

                 11.9 Rules of Interpretation; Computation of Time. For purposes of the
 Plan, (a) any reference in the Plan to a contract, instrument, release, indenture, or other
 agreement or document as being in a particular form or containing particular terms and
 conditions means that such document shall be substantially in such form or substantially on such
 terms and conditions, (b) any reference in the Plan to an existing document, schedule or exhibit
 filed or to be filed means such document or exhibit as it may have been or may be amended,
 modified, or supplemented, (c) unless otherwise specified, all references in the Plan to Sections,
 Articles, Schedules and Exhibits, if any, are references to Sections, Articles, Schedules and
 Exhibits of or to the Plan, (d) the words "herein" and "hereto" refer to the Plan in its entirety
 rather than to a particular portion of the Plan, (e) captions and headings to Articles and Sections
 are inserted for convenience of reference only and are not intended to be a part of or to affect the
 interpretation of the Plan, and (f) the rules of construction set forth in Section 102 of the
 Bankruptcy Code and in the Bankruptcy Rules shall apply. In computing any period of time
 prescribed or allowed by the Plan, unless otherwise specifically designated herein, the provisions
 of Bankruptcy Rule 9006(a) shall apply.

                 11.10 Direction to a Party. From and after the Effective Date, the Debtor may
 apply to the Bankruptcy Court for the entry of an order directing any Person to execute or deliver
 or to join in the execution or delivery of any instrument or document reasonably necessary or
 reasonably appropriate to effect a transfer of properties dealt with by the Plan, and to perform
 any other act (including the satisfaction of any lien or security interest) that is reasonably
 necessary or reasonably appropriate for the consummation of the Plan.

                  11.11 Successors and Assigns. The rights, duties and obligations of any Person
 named or referred to in the Plan, including all Creditors, shall be binding on, and shall inure to
 the benefit of, the successors and assigns of such Person.

                 11.12 Compliance with Tax Requirements. In connection with the Plan, the
 Debtor shall comply with all withholding and reporting requirements imposed by Federal, State,
 local or foreign taxing authorities. Under Section 1146(a) of the Bankruptcy Code and
 applicable New Jersey State law, the issuance, transfer, or exchange of a security, or the making
 or delivery of an instrument of transfer under the Plan shall not be taxed under any law imposing
 a stamp tax or similar tax.

                11.13 Waiver of Subordination. Notwithstanding any provision of the Plan to
 the contrary, all holders of Claims shall be deemed to have waived any and all contractual
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 subordination rights to which they may have with respect to the distributions made pursuant to
 the Plan, and the Confirmation Order shall permanently enjoin, effective as of the Effective Date,
 all holders of Claims from enforcing or attempting to enforce any such rights against any Person
 receiving distributions under the Plan.

               11.14 Post-Effective Date Professional Fees. The reasonable fees and actual
 and necessary expenses incurred after the Effective Date by professionals for the Debtor shall be
 paid by the Debtor or Reorganized Debtor upon the submission of an invoice to the Debtor or
 Reorganized Debtor without the need for further notice to any Person or approval by the
 Bankruptcy Court.

               11.15 Governing Law. Unless a rule of law or procedure is supplied by federal
 law, including the Bankruptcy Code and Bankruptcy Rules, (a) the construction and
 implementation of the Plan and any agreements, documents, and instruments executed in
 connection with the Plan, and (b) governance matters shall be governed by the laws of the State
 of New Jersey, without giving effect to the principles of conflict of law thereof.

                 11.16 Termination of the Committee. The appointment of any Committee
 herein shall terminate on the Effective Date.

                                     ARTICLE XII.
                               MODIFICATION OF THE PLAN

                12.1 The Debtor may alter, amend, or modify the Plan or any schedules or
 exhibits thereto under Bankruptcy Code Section 1127(a) at any time prior to the Confirmation
 Date. After the Confirmation Date and prior to substantial consummation of the Plan, the Debtor
 may, under Bankruptcy Code Section 1127(b), institute proceedings in the Bankruptcy Court to
 remedy any defect or omission or reconcile any inconsistencies in the Plan, the Disclosure
 Statement, or the Confirmation Order, and such matters as may be necessary to carry out the
 purposes and effects of the Plan so long as such proceedings do not materially or adversely affect
 the treatment of holders of Claims or Interests under the Plan; provided, however, prior notice of
 such proceedings shall be served in accordance with the Bankruptcy Rules or Order of the
 Bankruptcy Court.


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 Dated: November 19, 2018
                                  Respectfully submitted,


                                   AG&E Holdings, Inc. d/b/a American Gaming &
                                   Electronics, Inc.

                                   By: /s/ Anthony Tomasello

                                   Name: Anthony Tomasello
                                   Title: Chief Executive Officer




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                 List of Executory Contracts and Unexpired Leases of
                Non-Residential Real Property Assumed Under the Plan.

  Contract      Entity Name &       Counterparty       Contract/Lease       Cure Cost
   Status          Address             Name                              (if Applicable)

 Assumed     Wells Fargo           American            Xerox Copier     $0.00
             Equipment Finance     Gaming &            Model# B7035
             800 Walnut Street     Electronics, Inc.   Serial #
             Des Moines, Iowa                          5DA092103
             50309                                     Acct. No. 603-
                                                       0188838-000




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